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    1                       UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
    2                              MIAMI DIVISION
                           CASE NO. 19-20264-CIVIL-GOODMAN
    3

    4    ERIC EWING,                             Miami, Florida

    5                     Plaintiff,             April 28, 2020

    6               vs.                          9:28 a.m.

    7    CARNIVAL CORPORATION,

    8                   Defendant.          Pages 1 to 143
         ______________________________________________________________
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   10          ARGUMENT ON SUMMARY JUDGMENT MOTIONS FROM THE ZOOM
                          HEARING/TELEPHONE CONFERENCE
   11                BEFORE THE HONORABLE JONATHAN GOODMAN,
                         UNITED STATES MAGISTRATE JUDGE
   12                (TRANSCRIBED FROM THE AUDIO RECORDING)

   13    APPEARANCES:

   14
         FOR THE PLAINTIFF:            KEITH S. BRAIS, ESQ.
   15    (Appearing via                MICHELLE Y. GURIAN, ESQ.
          Zoom)                        BRAIS & ASSOCIATES, P.A.
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   17                                  Miami, Florida 33156

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   21
         FOR THE DEFENDANT:            BRIAN T. SCARRY, ESQ.
   22    (Appearing via                DAVID J. HORR, ESQ.
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    1               TRANSCRIBER'S NOTE:    The following proceedings

    2    commenced immediately after a recess had at 2:34 p.m. as

    3    follows:

    4               THE COURT:   All right, folks.     It looks to me like

    5    everybody is back.      Are we missing anybody?     As far as I can

    6    tell, no.    Right?

    7               UNIDENTIFIED FEMALE VOICE:     No.

    8               THE COURT:   All right.   The only interesting thing is,

    9    at least on my screen the configurations have switched around

   10    and, Mr. Harris, you're now in the far right corner in the

   11    middle.

   12               Mr. Brais, you're right smack in the middle.        If this

   13    was Hollywood squares, I think you'd be in the Paul Lynde seat

   14    or maybe the Charlie Weaver seat.       I'm not sure.

   15               But in any event, we're all back.      So let's turn to the

   16    summary judgment motions.      I have read the motions, the

   17    responses, the replies, the sur-replies, the supplemental

   18    authorities.    So I think it's fair to say that these two

   19    motions are fully briefed.       I underscore the word "fully."

   20               So what I think I'm going to do, first of all, I'm

   21    going to give everybody the opportunity to make whatever

   22    arguments you'd like to.      But I found -- I have found over the

   23    past few years that one effective way of doing this is I'm

   24    going to get to these under-seal questions first.          And that

   25    will tee up many, many issues, and we'll discuss all of them.
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    1    And then at the end, if there are any points that are still

    2    remaining that we haven't already discussed, I'll give you

    3    every opportunity to make them.       But I'm pretty sure that by

    4    going over these questions we will have covered a great deal of

    5    ground.

    6              Bear with me one minute, please.

    7              All right.   So we're going to start first with the

    8    Defendant's questions to the Plaintiff.        This is from Docket

    9    Entry 82.   It was under seal, but now I'm going to be reading

   10    the questions out loud.

   11              If at any time any of you want me to repeat the

   12    question, no worries.     All you need to do is say, "Please

   13    repeat it."    Some of the questions -- and I think those are the

   14    ones, as you'll see, from the Plaintiff -- tend to be a little

   15    bit longer, although some of the defense questions are a little

   16    bit long, too.    There's a lot of lead-up, so to speak.         So

   17    before they ask a question, there'll be like an entire

   18    paragraph of introduction.      So that may be a little bit

   19    difficult to digest if you're hearing it for the first time.

   20    So feel free to ask me to repeat it, even if you want me to

   21    repeat it twice.

   22              All right.   Here we go.     The first defense question

   23    concerns the Defendant's motion for summary judgment.           Here is

   24    the question:    Why doesn't the decision in Monteleone Versus

   25    Bahamian Cruise Line, Inc., control the outcome of the current
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    1    case?

    2               MR. BRAIS:   Good morning, your Honor -- well, I guess

    3    it's still morning, Judge.      It's Keith Brais on behalf of the

    4    Plaintiff.

    5               So Monteleone deals with a premises liability case,

    6    namely a screw -- I think it was on a stairwell --

    7               THE COURT:   Correct.

    8               MR. BRAIS:   -- that caused a person to slip and fall.

    9               THE COURT:   A protruding screw.

   10               MR. BRAIS:   Correct.   Correct.

   11               There was evidence in the case that there were

   12    inspections after the fact and the -- they couldn't find a

   13    particular defect.      They couldn't find it.     They said they

   14    found a defect.

   15               Another interesting factual dissimilarity or issue was

   16    that there was no notice that the Plaintiff introduced under

   17    the general adding of actual or constructive notice.          Another

   18    distinction is that res ipsa loquitur was not so much as even

   19    mentioned in the case.

   20               So, contrasting that to the Ewing opinion, we don't

   21    have a premises liability case.

   22               THE COURT:   I'm sorry.   What do you mean by the Ewing

   23    opinion?

   24               MR. BRAIS:   The Ewing --

   25               THE COURT:   We haven't --
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    1              MR. BRAIS:    Did I say opinion?

    2              MS. GURIAN:    Yeah.

    3              MR. BRAIS:    Oh, I'm sorry, Judge.

    4              THE COURT:    I was going to say, there is no opinion

    5    yet.    There's why we're here, because even if you had the

    6    ability to read my mind, that would not disclose anything,

    7    because my mind is completely open or empty, so to speak.

    8              Go ahead.

    9              MR. BRAIS:    So contrasting it to the Ewing case, your

   10    Honor, in Monteleone, it's confirmed that there was a screw and

   11    that the screw is alleged to have caused someone to trip and

   12    fall.

   13              That couldn't be more at odds with the facts before

   14    this Court with regard to -- with regard to the Ewing case.

   15    There are four witnesses who have testified that there was

   16    no -- there may have been and we alleged there was certainly

   17    negligent conduct on the part of the crew member, but there was

   18    not a defect with the lock itself.

   19              So we don't have a kind of premises liability that

   20    Monteleone is.    We have the runner who enters the cabin

   21    afterwards and says:     I didn't do any repairs.       And, by the

   22    way, I was able to lock it.      Even though I didn't pull down, I

   23    could visually see the latch behind the locking bar, and that

   24    was my method of confirming it was locked, a fully functional

   25    lock.
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    1             And in addition to that, you have the three witnesses

    2    who were a part of the post-incident inspection.          You have

    3    Rudolph -- the cabin steward.       I'll go by titles.     I don't

    4    think names are necessary.      It will slow us down.

    5             You have the floor supervisor and the security -- and

    6    the joiner, all of whom participate firsthand to some degree;

    7    and they all went to get up on the bed to see and do the

    8    testing on the particular bunk and all of whom could confirm

    9    that you're not dealing with, let's call it by analogy, a

   10    protruding screw or a broken lock.

   11             Every single one of them said that the lock was

   12    completely functional and every single one of them said:           We

   13    found a loose screw.     We tightened it after the fact, but

   14    before we even tightened it, the lock was functional.

   15             So Monteleone to the extent it talks about actual or

   16    constructive notice and reasonable care, we -- Plaintiff

   17    doesn't take any actual issue with that.         Monteleone does not

   18    discuss in the slightest way res ipsa loquitur, which if you

   19    look at those three factors under res ipsa, we think the Ewing

   20    case falls clearly within those three factors.

   21             And Monteleone deals with an actual known defect or

   22    premises liability situation, a trip and fall, whereas the

   23    Ewing case does not.

   24             THE COURT:    All right.    Carnival?

   25             MR. SCARRY:     Your Honor, it's not --
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    1             MR. BRAIS:    Could I just add one other thing, your

    2    Honor?

    3             THE COURT:    Sure.

    4             MR. BRAIS:    The Monteleone opinion itself also doesn't

    5    address the Franza rationale or the vicarious liability

    6    rationale.    The conduct that the Plaintiff is alleging in this

    7    case amounts to negligent acts of an employee for not doing

    8    what Carnival's safety policies and procedures said he was

    9    supposed to do and what the floor supervisor said.          It was

   10    ticked off three, four different things every single day, every

   11    single morning, physically checking it.        But Monteleone doesn't

   12    involve a vicarious liability aspect like the Ewing case does.

   13    So there's an enormous dissimilarity between the two cases.

   14             THE COURT:    Carnival?

   15             MR. SCARRY:     Good morning, your Honor.      Brian Scarry.

   16             I could not disagree with Mr. Brais more.           Not only do

   17    those two cases deal with the same instrument, which is a

   18    screw, which is really just coincidence, but both of these

   19    cases deal with a premises, if you will.         There is no

   20    functional difference between a step that passengers on the

   21    Monteleone ship traverse upon and a bunk bed which occupied

   22    Mr. Ewing's cabin.

   23             And one of the features of the Monteleone case is that

   24    you cannot build a ship and then operate it without having to

   25    conduct maintenance.     And we know that in the Monteleone case,
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    1    the Court pointed out that the ship did keep maintenance

    2    records, that the trial court judge made the mistake of

    3    inferring that maintenance records themselves indicated that

    4    problems and faults existed with the stairs, and the second

    5    court strenuously disagreed with that rationale.

    6             What we have here, similar to Monteleone, is a

    7    circumstance where, like screws on a staircase nosing, we have

    8    screws in a locking mechanism that over the course of time

    9    through the course of use and the course of vessel movement,

   10    vibration, however we want to call it, but we also know from

   11    our own common sense that you could secure two pieces of wood

   12    or metal with a screw and over time the screw will loosen,

   13    whether it's an IKEA bookshelf, a chair, whether it's the

   14    locking mechanism on a Carnival ship bunkbed.

   15             So what is not in dispute is -- and I'll perhaps refer

   16    to page and line references -- but I disagree with Mr. Brais's

   17    portrayal of what the undisputed facts reveal.          And in this

   18    case, very much like the case in Monteleone, we have a

   19    situation where an article of equipment, whether it's a stair

   20    or a folding bed, requires maintenance from time to time.           The

   21    ship has a policy of furnishing maintenance when needed and the

   22    ship has a way of furnishing a check, which Mr. Williams, the

   23    cabin steward, identified, to determine if and when maintenance

   24    on a particular bed is needed.

   25             We also know from the undisputed facts and specifically
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    1    the two experts, Mr. K, Dr. Kadiyala, who was deposed, and

    2    Mr. Emond, who was also deposed, and I can furnish your Honor

    3    with page and line references, if you want.         Both of those

    4    experts come to the same conclusion; and that is, there are at

    5    least two scenarios where loosening of a screw will cause the

    6    latch mechanism to fail.

    7               And if the latch mechanism fails, the bed can fall from

    8    the horizontal -- I'm sorry -- the vertical position to the

    9    horizontal position.

   10               So we start with that, which is like in Monteleone, if

   11    a screw on a staircase nosing is sticking up a quarter of an

   12    inch or a half an inch, somebody can trip on it.          And that

   13    common-sense scenario from Monteleone is mirrored here through

   14    the consistent testimony of the two experts that screws can and

   15    do back out; and with this particular latch mechanism and in

   16    our -- in our questions, your Honor, we furnished you with a

   17    diagram.

   18               THE COURT:    Right.

   19               MR. SCARRY:   And this diagram, which is actually in the

   20    center, what it shows is what I'll refer to as mechanical

   21    engagement.    So we have what the diagram calls a latch, which

   22    turns like the hand on a clock, and then we have a stationary

   23    bracket.    And ideally, the turning latch catches behind the

   24    stationary bracket, and that prevents the bed from being pulled

   25    away from the wall.
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    1              What both experts conceded -- well, Dr. Kadiyala

    2    finally conceded, but Mr. Emond featured it in his opinion --

    3    and that is, if the bracket screws -- and there are two of

    4    them.   If the bracket screws become sufficiently loose or if

    5    one or more were to fall out, the mechanical engagement

    6    necessary to keep the bed upright is lost.         So the act of

    7    turning the latch may appear to lock the bed, but unless it is

    8    secured behind a bracket that is secure enough, then the

    9    mechanical engagement can be defeated and the bed can fall to

   10    the horizontal.

   11              And so from the perspective of both of the experts,

   12    which is where we start, this possibility does exist.           And

   13    because that possibility does exist, we have Mr. Williams in

   14    his deposition testifying on Pages 109 through 111 that he goes

   15    through a protocol which includes this pull check, which at the

   16    time it's performed confirms the mechanical engagement.           And

   17    that pull check is very similar to the maintenance protocol

   18    aboard the ship in Monteleone.

   19              And the rub here, your Honor, and it's repeated

   20    multiple times throughout the Plaintiff's briefing, is their

   21    contention it is the active negligence -- the term "active

   22    negligence" is repeated multiple times -- the active negligence

   23    of Mr. Williams.     He's even accused of lying.

   24              But what the Plaintiff is really trying to say is

   25    either he didn't do the pull test or he didn't go in the cabin
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    1    at all.    Either way, Mr. Williams doesn't confirm the

    2    mechanical engagement necessary to keep the bed upright.

    3              And what we've included in our papers, that the

    4    believability or the veracity of Mr. Williams's testimony on

    5    those pages as well as others is not at issue in the summary

    6    judgment context.      It is under the Underwood, Cosmo and

    7    Strickland case.     It is considered in the context of summary

    8    judgment to be true.

    9              So the question then becomes, we know the bed opened --

   10              THE COURT:    Wait just a minute, sir.

   11              Why would -- why would Mr. Williams's testimony be

   12    deemed true in a summary judgment context?

   13              MR. SCARRY:    Because if we review those cases, the

   14    Strickland, Underwood and Cosmo cases, those cases stand for

   15    the proposition that in the context of trial, the demeanor and

   16    the veracity of a witness's testimony can be taken into

   17    consideration by the fact-finder.

   18              And here, where the judge is the fact-finder, it is

   19    assumed true for purposes of summary judgment, because the

   20    Court here is to weigh the evidence and determine the truth of

   21    the matter, whether it's a genuine issue for trial.

   22              So because Mr. Williams testified that he did in fact

   23    do the pull test, he cannot -- his -- there isn't anything that

   24    challenges that.     There is no fact in dispute that he did the

   25    pull test.    The record is empty.
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    1              We do know the bed fell open.       And the Plaintiff wants

    2    to do an end-run that because the bed fell open, Mr. Williams

    3    must not have done the pull test.

    4              And here's why that leap in logic fails:        Immediately

    5    after Mr. Ewing had the accident, he makes a phone call and the

    6    floor supervisor sends the runner, Mr. Tefora.          And what's

    7    important about Mr. Tefora is he was the reason we had these

    8    sur-replies.    The sur-replies were necessary because Mr. Tefora

    9    left Carnival.     He lives in a very remote area of the

   10    Philippines, and it wasn't until he returned that we were able

   11    to complete his deposition.

   12              Mr. Tefora enters the cabin and Mr. Tefora is the

   13    individual who raises the bed back into the vertical position

   14    and then, using a key, thinks he's engaged the lock, because he

   15    turns the -- he turns the key.       He turns the latch mechanism.

   16              But Mr. Tefora was asked both by Mr. Brais and myself:

   17    Did you do the pull test for this bunk, the one that fell?

   18              And Mr. Tefora was very clear.       He did not do the pull

   19    test.

   20              And, your Honor, those passages are on Pages 56, 84 and

   21    85 of Mr. Tefora's deposition.

   22              Mr. Tefora does not, as Mr. Brais suggested, verify

   23    that the lock is working, that there's mechanical engagement.

   24    And I think your Honor should pay close attention to the use of

   25    the terms "the lock worked" and the concept of mechanical
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    1    engagement, because the latch can be turned, but unless there's

    2    sufficient mechanical engagement, the bed can come down to the

    3    horizontal.

    4              It gets interesting the next day.       That's when the

    5    maintenance person arrives, Mr. Rotairo.         And Mr. Rotairo was

    6    there at the request of the floor supervisor to check the lock,

    7    because all that's known at that point is the bed came open.

    8    Mr. Tefora didn't look for or see any screws the day before.

    9    In fact, from Mr. Ewing's video, he appears to be in the cabin

   10    all of about a minute and a half.

   11              But the following day, Mr. Rotairo enters the cabin.

   12    And Mr. Rotairo -- and I think it's worth actually reading the

   13    passage from his deposition -- Pages 31 and 32.          And I'll -- if

   14    I may, your Honor, I'll read the passage.

   15              THE COURT:    Yes.

   16              MR. SCARRY:    Starting at Line 7, Mr. Rotairo is asked:

   17    "The first thing, did you pull on the bunk, make the bunk above

   18    the twin beds -- did you pull on it to make sure it was locked?

   19              "Yes.

   20              "Was it locked?

   21              "It wasn't locked.     No.   No.   I checked for the top

   22    bunk."

   23              And then, a few lines later, he identifies the

   24    existence of a loose screw.

   25              Now, we've dealt with Mr. Ewing's declaration earlier
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    1    about whether Mr. Ewing saw it or heard about it or whatever.

    2    But the bottom line is, the exact same scenario described by

    3    Expert Kadiyala and Expert Emond, that scenario of one or more

    4    loose screws or one or more screws that have completely fallen

    5    out, is what Mr. Rotairo encounters.        He is very clear that he

    6    encounters two loose screws.       And his testimony about what he

    7    observed is corroborated by Mr. Ewing.

    8               So whether Mr. Ewing saw a screw on the bedsheets or

    9    whether he heard someone who said they saw a screw on the

   10    bedsheets, what is 100 percent clarified by Mr. Ewing -- and we

   11    covered this a little earlier, but in a different context, your

   12    Honor -- on Page 105 of Mr. Ewing's deposition, Mr. Ewing is

   13    asked:   "Okay.    Then what happened?

   14               "Answer:   He said" -- and in the context, your Honor --

   15    and if Mr. Brais disagrees with me, I would invite him to let

   16    me know.    But in that context, Mr. Ewing is referring to

   17    Mr. Rotairo, who is a carpenter.       They call him a joiner.

   18               "The answer:   He said, 'Here is the screw.'       It was

   19    sitting on the sheets."

   20               And then there's no question that what Mr. Ewing

   21    testifies next is what Mr. Ewing observed.         Took out a

   22    screwdriver, one.     Put it back together, two.      Turned it,

   23    three.   Locked it, four.     Stepped on the bed, five.      Pulled on

   24    it, six.    And it was locked, seven.

   25               Those are Mr. Ewing's own words.      Mr. Ewing saw
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    1    Mr. Rotairo secure these screws.

    2              And for the first time post-incident, the bed is

    3    documented to be working correctly.

    4              Going back to Monteleone, where we started this

    5    voyage --

    6              THE COURT:    No pun intended.

    7              MR. SCARRY:    None at all.

    8              But Monteleone and this case before us are both on a

    9    par with the very long-held doctrine that requires actual or

   10    constructive notice, that the Defendant vessel operator does

   11    not have a crystal ball, cannot predict when a screw is going

   12    to back off sufficiently enough where it invites a corrective

   13    measure, which is, Call the carpenter, tighten the screws,

   14    verify the mechanical engagement.

   15              And that in my view -- and I think the law is

   16    consistent -- that those two cases -- those two cases are

   17    analogous both in the application of the doctrine of actual or

   18    constructive notice, but also in the doctrine that identifies

   19    that ships operate in a manner where maintenance problems, when

   20    they are recorded and then acted upon, there is no liability.

   21              And what Plaintiff wants to do here is shift the

   22    Court's view to this incorrect notion that the active

   23    negligence or the alleged active negligence of Mr. Williams

   24    based on the conclusory assumption he must not have locked it,

   25    because the bed fell open, controls.
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    1              And it's fodder for another question.        But the Eleventh

    2    Circuit has reaffirmed through the recent Pizzino case that

    3    active negligence of a staff person where there is not actual

    4    or constructive notice is not the law.

    5              Thank you.

    6              THE COURT:    Sure.   Plaintiff, any rebuttal?

    7              MR. BRAIS:    Yes, your Honor.     Several things to cover.

    8    Keith Brais.

    9              I'm going to try to just address them in the order in

   10    which they were addressed.

   11              Counsel for Carnival mentions that there's no

   12    functional difference between the stairs versus the bunk.

   13              There's an interesting opinion from Judge Williams,

   14    the Millan, M-I-L-L-A-N, case.       It does talk about res ipsa

   15    loquitur.    But the most interesting part about this case, in

   16    Judge -- in Millan is that she makes an enormous distinction

   17    between common areas that passenger after passenger after

   18    passenger are using the particular equipment in traversing the

   19    area, which turns into a -- the word in the opinion is

   20    "communal" type of area, as compared to the area that we're

   21    talking about, which is a bunkbed in Mr. Ewing's cabin where

   22    the only people in the entire world who can function the

   23    bunkbed are the crew who have -- who are the only people -- by

   24    the way, a select crew at that -- who can function this

   25    particular -- either open it or close it and lock it.
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    1              So there's an enormous difference between the condition

    2    in Monteleone versus the negligence of the cabin steward.

    3              I wanted to address something.       It seems this is sort

    4    of an end-run around the res ipsa by suggesting that the

    5    experts in this case agree that under a hypothetical set of

    6    facts -- where's that picture? -- a hypothetical set of facts,

    7    which did not exist in this case, and I'll get to that, there

    8    is the possibility that the latch may have -- a screw could

    9    have come loose to the point that the lock became -- did not

   10    function anymore.

   11              That's an end-run around trying to get ahead of the res

   12    ipsa.   But those facts could not be more -- could not have been

   13    described to you more inaccurately.

   14              The facts are that the runner, when he enters the

   15    cabin -- and by the way, I'm sure the Court has seen this in

   16    depo after depo after depo when we take these crew members

   17    from, you know, wayward parts of the world, that they have a

   18    very, very difficult understanding.        The issue of "What was the

   19    first thing you did when you went into the cabin" was probably

   20    asked six or eight times.

   21              Finally, when it was discussed -- when it was finally

   22    understood what was being asked -- I'm at Page 31 of his

   23    deposition, the bottom of that page.

   24              THE COURT:    Who is the deponent?

   25              MR. SCARRY:    The runner.    The runner.
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    1              MS. GURIAN:    Tefora.

    2              MR. SCARRY:    Tefora.   Sorry.    If the names help, Judge,

    3    I can name them too as well.

    4              "When you first went into the cabin, did you pull down

    5    on the upper bunk above the twin beds to see if it was locked

    6    in place?

    7              "Answer:    Yes.

    8              "Okay.    When you pulled" -- continuing on to Page 32:

    9    "Okay.   What happened?

   10              "Nothing.    Nothing happened."

   11              He asked -- I asked him, "Were you able to pull it

   12    down?"

   13              He says, "Yes."     That's in the context of later.

   14              But he clears that up.       He says at the bottom of Page

   15    32, when you -- "Question:       And when you checked the upper bunk

   16    above the beds, you confirmed, did you know that -- do you know

   17    what the word 'confirmed' means?"

   18              I mean, we were trying to break it down word for word

   19    for this guy.

   20              And he says, "Yes.

   21              "You verified it was locked?

   22              "Yes."

   23              He says on at least two occasions, also at Page 28,

   24    same witness.      Line 21:   "Okay.   When you went into the cabin

   25    on this day, was the bunk above the twin beds -- was that bunk
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    1    locked?

    2              "Yes" was his answer.

    3              So on three separate occasions, there's a couple of

    4    occasions where admittedly he misunderstands.         But on three

    5    separate occasions, he says:       The bunk was locked.     How -- why

    6    is that important in this case?       I could tell you what's

    7    immaterial.

    8              MS. GURIAN:    You were reading from Rotairo.       We had

    9    said Tefora.    I just wanted to make it clear.       It's Rotairo.

   10              MR. BRAIS:    Oh.   Rotairo.   I'm sorry.    Rotairo.

   11              The witness was Rotairo.       That's the depo I was

   12    referring to.

   13              What is immaterial, your Honor, is whether there was a

   14    loose screw.    It's completely immaterial to the case.         And the

   15    reason it's immaterial is because the runner, when he goes in

   16    there, Tefora, he confirms that he's able to accomplish two

   17    things.    He confirms he absolutely didn't do any repairs and he

   18    confirms that he was able to use the locking key, turn it and

   19    visually discern by looking through this slot, this opening,

   20    that the locking tab is engaged.

   21              But, Judge, it's even immaterial.       I'll throw out for

   22    our purposes whether he could lock it.        The most material issue

   23    is:   Was any repairs made?

   24              Why do I say that?     Because the next day, there are

   25    three crew members who unequivocally say during the
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    1    inspection -- that's the floor supervisor, Ms. Peredo, through

    2    Rudolph Williams himself, the cabin steward, and then there's

    3    the joiner/carpenter.

    4               MS. GURIAN:    Rotairo.

    5               MR. BRAIS:    Rotairo.

    6               And he says -- he says that -- every single one of

    7    those people say the first thing that happens, they go in

    8    there.    It's locked.     They unlock it.   They inspect it.     They

    9    see a screw or two loose.      By the way, "loose" as

   10    misinterpreted by Mr. Ewing.         Turns out it's backed off a turn

   11    or two.    Not entirely removed.      As it turns out, not on the

   12    bed.   Of course, that wasn't a visual observation made by Ewing

   13    anyways.

   14               But we have three crew members who unequivocally say

   15    that when they pushed it back up, having confirmed it was

   16    locked in the first place, when they pushed it back up and they

   17    turned to lock it, it was lockable again.

   18               That means the, quote, "possibility" or the

   19    hypothetical that allegedly Mr. Emond advances for the defense

   20    and Dr. K, I think we're calling him, thankfully, said under

   21    the hypothetical:       Is there any set of circumstances where a

   22    loose screw under any set of circumstances could have caused

   23    the lock to become not functional?        Not lockable?

   24               And they say:    Yeah.    If the following sets of facts.

   25               But we don't have to go there.      Those facts don't
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    1    exist.   It was not a screw backed off to the point that the

    2    spacer bar made it impossible for the locking tab to engage.

    3    But we don't even have to get technical about it.          We know from

    4    no less than four crew members we had a functional, lockable

    5    lock, and therefore the possibility is eliminated that there

    6    was -- that this lock was not operational, was not lockable.

    7    It is eliminated as a possibility.

    8              And that'll become important when we talk about the res

    9    ipsa.

   10              So that's just a close reading of those depositions,

   11    your Honor.    And I even have on a chart here, if it helps you,

   12    you know, who said what, where; and Mr. Rotairo -- I could

   13    either read it to you or [indiscernible] filing it at a later

   14    date and I could pinpoint each witness's testimony with regard

   15    to these very material issues.

   16              But continuing on, so the expert's testimony about a

   17    possibility becomes a -- basically a set of facts that didn't

   18    occur, couldn't have occurred and didn't occur in this case at

   19    least per four witnesses in the case.

   20              That eliminates the possibility that Mr. -- that

   21    Carnival's -- Mr. Scarry's talking about.

   22              I talked about something very briefly, your Honor.          And

   23    that is that when the runner -- excuse me --

   24              MS. GURIAN:    Tefora.

   25              MR. BRAIS:    -- Tefora goes into the room right
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    1    afterwards, it's even immaterial if he was able to lock it.

    2    What's not -- or what is material is that he didn't do any

    3    repairs.

    4               So if no repairs were done, footnote the fact he could

    5    lock it, and if during the joint inspection no repairs are done

    6    and it's fully functional and lockable and after the fact they

    7    say:   You know what?     Why don't we tighten up the screws

    8    anyway, it's just to batten it all down.

    9               And we know bunks that are locked don't deploy.         That's

   10    the basis of our claim that the cabin steward could not have

   11    done what he was supposed to do on the embarkation day and

   12    could not have done the inspections, the physical pull-down

   13    inspections, on the Sunday, Monday, Tuesday, Wednesday and

   14    Thursday.

   15               The notion -- the invented argument that Thursday, 9 --

   16    sometime after 9:00 or 10:00 a.m., supposedly after the cabin

   17    steward, Rudolph Williams, pulls down on the bed, and

   18    supposedly checks the lock and that it's supposedly working,

   19    the invented argument that the ship's somehow vibration caused

   20    a screw to back off to the point that it became dysfunctional

   21    or unlockable or unengaged can't exist in this universe because

   22    no one effected any repairs, so this -- either the gentleman

   23    who visited first, the runner, or the three people who

   24    inspected the lock afterwards.

   25               It was a fully functional lock, according to four
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    1    Carnival witnesses.     It had a loose screw, but it didn't stop

    2    it from working.

    3              THE COURT:    Mr. Scarry, any rebuttal on that?

    4              MR. SCARRY:    Yes, your Honor.

    5              There's only one person that put any effort at all into

    6    examining and fixing the latch mechanism, and that's

    7    Mr. Rotairo.    Mr. Rotairo testified that he pulled out the

    8    screwdriver and he tightened the screws.

    9              And in addition to what I referred to on Page 31 of

   10    Mr. Rotairo's deposition, Mr. Brais attempted to clarify that

   11    and on Page 31, blending over into 32, Mr. Rotairo again gives

   12    the same testimony that when he went to pull down on the bed,

   13    he was able to pull it down, indicating there was no mechanical

   14    engagement when Mr. Rotairo and the others were in the room.

   15              Mr. Rotairo then goes into additional detail about how

   16    he tightened the screws.        There's no doubt the screws on this

   17    latch engagement were loose.

   18              THE COURT:    So let me just -- let me make sure that I

   19    understand you.

   20              MR. SCARRY:    Yes.

   21              THE COURT:    Mr. Rotairo comes into the cabin, pulls out

   22    a -- well, first, he comes in.       He is able to pull the bed

   23    down.   So that means that the locking mechanism or the

   24    mechanical involvement isn't working.        In other words, the bed

   25    could fall on top of somebody's head in that situation.
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    1               MR. SCARRY:   And that is the day after.      Yes, sir.

    2               THE COURT:    I understand.    The day after.

    3               He then pulls out a screwdriver, tightens the screws.

    4    Presumably they were loose; otherwise, there'd be nothing to

    5    tighten.    He then tightens the screws.      He then pulls down on

    6    the bed again and then it's locked and the mechanical

    7    involvement is working at that point.

    8               Is that what Mr. Rotairo says?

    9               MR. SCARRY:   That is correct, your Honor.

   10               THE COURT:    Okay.    So basically, Rotairo fixed from

   11    your view -- he repaired with a simple screwdriver the

   12    mechanical device so that it would in fact lock by simply

   13    tightening the screws.

   14               MR. SCARRY:   That is correct.     And the significance of

   15    him tightening the two screws is that both experts agree that

   16    if these latch-bar screws are sufficiently loose, it defeats

   17    the mechanical engagement.         And that, your Honor, is

   18    undisputed.

   19               THE COURT:    Any other points?

   20               MR. BRAIS:    Judge, Keith Brais again.

   21               So --

   22               THE COURT:    Well --

   23               MR. BRAIS:    I'm sorry.    You're talking to Mr. -- I'm

   24    sorry.

   25               THE COURT:    Right.    I was talking to Mr. Scarry.     Any
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    1    other points?

    2              But listen:    Here's the thing.     Here's the thing.      I

    3    don't mean to be a wiseguy about this, but I can't stay here

    4    until midnight.     And right now we're on request -- we're still

    5    on Question 1 of 12 questions.       And we've been at this for more

    6    than 40 minutes.     So at this rate, we're going to be here for,

    7    like, six more hours.      That's not happening.     So you're going

    8    to have to be more precise, more succinct and more focused in

    9    your explanations.

   10              I simply can't have argument, response, rebuttal,

   11    reargument, re-rebuttal around the back, double-flip, reverse

   12    rebuttal, surrebuttal, et cetera.        I can't do it.    There's only

   13    so many hours in the day.      Okay?   So we're moving on to

   14    Question 2.

   15              I'm sorry.    If there's some point that you think is so

   16    critical at the end of this that I haven't given you ample

   17    opportunity, which would be stunning to me in a hearing that

   18    presumably is going to last four or five hours, but if you

   19    still think at the end of four or five hours that there's still

   20    a critical point that you need to make, I'll give you an

   21    opportunity to file a post-hearing memorandum.          But we just

   22    can't continue to go back and forth and back and forth.

   23              Understood?

   24              MR. SCARRY:    Yes, sir.

   25              MR. BRAIS:    Your Honor, your Honor.
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    1               MS. GURIAN:    It's blurry.

    2               MR. BRAIS:    Your Honor, could I indulge you just so we

    3    don't have to touch this issue again, with one minute?           One

    4    other minute on it?

    5               THE COURT:    So the answer is yes, you can, Mr. Brais.

    6    But based on what we've -- all we've done so far, based on the

    7    comments that I just made, I'm predicting that this one extra

    8    comment that you're going to make is going to be so critical,

    9    so important, never having made before, that it's going to bowl

   10    me over.    I'm going to say:      Oh, my gosh.   Thank goodness

   11    Mr. Brais raised this point right now.

   12               So you go ahead, sir.     Make that point.    And let's see

   13    if it's in fact worth all of the drum-roll leading up to it.

   14    Go ahead.

   15               MR. BRAIS:    Okay.   Here we go, Judge:

   16               This is the deposition of Gilbert Rotairo.        He's the

   17    joiner.    Beginning at Page 42, Line 18.       And I'm going to go

   18    over to Page 43, just a bit.

   19               Line 18:    "The bunk that we are talking about above the

   20    two beds, when you inserted the key and the bunk lowered, what

   21    did you find?       How was the lock?    Was there anything wrong with

   22    the lock?

   23               "Answer:    No problem with the lock.

   24               "Question:    No problem?

   25               "Yeah.    No problem.   I found the one -- two screws
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    1    loose, but the lock not have a problem."

    2              Continuing at page -- Line 12, same page:         "You said

    3    one or two screws were a little loose.        How many screws were a

    4    little loose there?

    5              "Answer:   Two.

    6              "And those little screws were part of the lock in the

    7    bunk?

    8              "Answer:   Yes.    Part of the lock to the bunk, like hold

    9    it.

   10              "Question:    To hold the lock in place?

   11              "Answer:   Yes."

   12              This is it, Judge.     "But even with the two little

   13    screws a little loose, the lock was still working?          Yes?

   14              "Answer:   Yes."

   15              Before any repairs were made, the two loose screws

   16    didn't prevent the lock from functioning or it being a fully

   17    functional lock.

   18              That's all, Judge.

   19              THE COURT:    And when did Rotairo conduct this

   20    inspection?    Was it right after your client was injured?         Was

   21    it later that day?     Was it the next day?      Just refresh my

   22    recollection.

   23              MR. BRAIS:    So the joint inspection that we -- Keith

   24    Brais -- that we've referred to is the following day when we

   25    have the cabin steward, Rudolph Williams; the floor supervisor;
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    1    and Rotairo, the joiner.      Before the day before --

    2              THE COURT:    I'm asking you, this section that you just

    3    read to me on Pages 42 and 43, when he said the lock was still

    4    working, was this his own individual inspection or the joint

    5    inspection the following day?

    6              MR. BRAIS:    No.   He -- this was the joint inspection.

    7    We asked him if he ever was in the room before.          And his

    8    testimony is unequivocally:        No.   The only time I ever entered

    9    that room was as a part of the joint inspection the day after

   10    this incident.

   11              THE COURT:    And who else was part of that inspection

   12    team?

   13              MR. BRAIS:    Rudolph Williams, the cabin steward

   14    himself, who says the lock was completely functional; and the

   15    floor supervisor, Ms. --

   16              MS. GURIAN:    Peredo.

   17              MR. BRAIS:    -- Peredo, who says the lock was completely

   18    functional without effecting any repairs or tightening any

   19    screws to be more specific.

   20              THE COURT:    So we're moving on to Question 2:       Given

   21    the testimony -- actually, let me just put a mark here in my

   22    notes.

   23              Question 2:    Given the testimony of the cabin steward,

   24    Rudolph Williams, who testified he performed the functional

   25    check of pulling on the bunk that caused Plaintiff's claimed
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    1    injury the morning of the claimed accident to ensure it was

    2    locked, what record evidence confirms the alleged condition

    3    existed for a sufficiently long period of time to charge

    4    Defendant with notice?

    5              MR. BRAIS:    So Keith Brais, your Honor.

    6              So we know -- well, first of all, the test -- your

    7    Honor, you picked up on this -- is that every reasonable

    8    inference needs to be construed adverse to the moving party.

    9    It has to be construed in the light most favorable to the

   10    Plaintiff if we're talking about the Defendant's motion for

   11    summary judgment.

   12              And you -- I believe you picked up on that.

   13              But the suggestion that the cabin steward on the

   14    morning of the incident pulled down, that that is somehow

   15    etched in stone or almost biblical in nature and it can't be

   16    challenged by any facts, I think, is very misplaced.

   17              The first fact we know that that can't be true is

   18    because locked bunks don't deploy.        Multiple witnesses

   19    testified to that effect.

   20              The second fact we know is that when the runner came

   21    into the room, portions of which are included in the video that

   22    was submitted to the Court, the runner testified:          I didn't

   23    effect any repairs and I was able to lock it.

   24              Disregard whether he -- whether he pulled down or not.

   25    Just focus on, if you would, your Honor, that "I didn't effect
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    1    any repairs."

    2              Now we skip to the following day.       And we know the

    3    joiner who's really heading up this inspection with everybody

    4    looking over his shoulder says:       When I first walked in, it was

    5    locked.

    6              What are you going to -- that corroborates, obviously,

    7    the runner's version.      He was able to lock it.      But get to the

    8    meatier portion.     The material part is what I just read to you,

    9    was that it was a functional lock.        It was lockable.     And when

   10    they checked it, when they locked it during the inspection --

   11    by the way, not once, multiple times -- it wouldn't come down.

   12    They verified it was a functional lock and it would not pull

   13    down.

   14              The joiner testified to this.       And that was before any

   15    repairs were made.     That was before the screw comes out and

   16    that's before the two loose screws that didn't stop it from

   17    working anyways, because they were only partially backed down,

   18    before any of those repairs were made.

   19              So if the suggestion is there's no evidence to

   20    contradict what the cabin steward is trying to say to us, that

   21    we have to take his testimony as gospel, there's ample

   22    evidence.    There's a lot of evidence, your Honor, that the lock

   23    was lockable.

   24              Oh, well, there's another good point, Judge.         And you

   25    already hit on this a little bit.        If we accept blindly the
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    1    cabin steward's testimony that it was -- that he pulled down on

    2    it that day and it was locked, irregardless, we have ample

    3    evidence it couldn't have been locked.        It wouldn't have fallen

    4    down and it was lockable.

    5              Setting that aside for a moment, are we also to accept

    6    that the bunk of the opposite side of the cabin per this policy

    7    and procedure that the cabin steward allegedly followed was

    8    somehow locked, too, when we have video documentation it, too,

    9    was not locked?

   10              THE COURT:    Mr. Scarry?

   11              MR. SCARRY:    I think it deserves very pointed attention

   12    that there's a difference between saying that a lock is working

   13    and confirming that the lock has mechanical engagement, because

   14    in the context of all these questions, when they put the key

   15    in, it turns the rotating latch.

   16              But the clearest -- the most clear testimony comes from

   17    Mr. Rotairo on Page 31.      He says, "The first thing I did when I

   18    entered the cabin was to pull on it.        And it wasn't locked."

   19              He pulled on it and it wasn't locked.        That's the first

   20    thing he did.

   21              THE COURT:    This is Mr. Rotairo?

   22              MR. SCARRY:    This is Mr. Rotairo.

   23              THE COURT:    And what page is that from?

   24              MR. SCARRY:    Page 31.

   25              And the other -- the other key testimony, your Honor,
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    1    and it bears repeating, we're talking about mechanical

    2    engagement and the inability of the bed to come out.           If you

    3    have mechanical engagement, it won't come out.

    4              And on Page 32 he says again, "When I pulled on it, the

    5    bed came down."

    6              That means no mechanical engagement.

    7              So just because Mr. Tefora can peek in a crack and see

    8    it turning and twisting, that doesn't mean that the latch is

    9    getting what is required, and that is this mechanical

   10    engagement.

   11              And the only way to prove that is to pull on it.          And

   12    Rotairo's the only one who pulled on it, because Tefora says:

   13    I never pulled on it.      I just turned it.     And when Rotairo

   14    pulled on it, the thing came down.        And that tells you:     No

   15    mechanical engagement.

   16              THE COURT:    Any other points?

   17              MR. SCARRY:    No, your Honor.

   18              THE COURT:    Good.

   19              Question No. 3:     Given Plaintiff's claim that the

   20    active negligence of the cabin steward created the condition of

   21    the unlocked bunkbed, why doesn't Pizzino versus NCL Bahamas,

   22    which abrogates the, quote, "creation rule," closed quote,

   23    control the outcome of this case?

   24              Would you like me to read it again?

   25              MR. BRAIS:    No, Judge.    Just a few seconds, if you
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    1    would.

    2              THE COURT:    Sure.   Take your time.     Collect your

    3    thoughts.

    4              MR. BRAIS:    So, you know, like with every single case,

    5    your Honor, dealing with these types of situations, you have to

    6    evaluate if you're dealing with a premises liability case or a

    7    non-premises liability case.       If it's a premises liability

    8    case, is it negligent design?       Is it a transitory condition?

    9    Does the alleged defect -- was it within the exclusive control

   10    of the Defendant?      All those things need to be wrapped up into

   11    any analysis.

   12              So you have to look at the particular facts to see if

   13    it has application to your set of facts.         Pizzino is an example

   14    of a deck that allegedly was made unsafe because of a crew

   15    member who was carrying a bucket and so it is alleged that the

   16    bucket, you know, was too full and water was spilled over on

   17    the deck in a transitory condition.        It was a premises

   18    liability case, and that's what the dangerous condition was.

   19              Before I get even further into Pizzino, Pizzino was

   20    looked at very closely by the Richard court.         I only bring that

   21    up now because it's relevant -- the Richard court, which was

   22    Judge Moreno -- I don't think you need the citation.           I'm sure

   23    everyone has it.     And Footnote No. 3 hits on the very point

   24    that I'm about to mention.

   25              And it says, "In referring to Pizzino, assuming that
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    1    principle" -- that principle, meaning the Pizzino principle,

    2    referring to the Pizzino case, "even applies outside a premises

    3    liability context" -- so Judge Moreno is highlighting the fact

    4    that if you're talking about things like vicarious liability,

    5    if you're talking about cases involving res ipsa loquitur, if

    6    you're talking about cases that are not strictly speaking a

    7    premises liability case, he raises great concern that Pizzino

    8    has any application whatsoever.

    9              And he goes on:     "Assuming that Pizzino principle

   10    even applies outside the premises liability context, it does

   11    not doom the instant case.       As Richard notes, an incident

   12    similar to the one presently before the Court occurred on a

   13    Carnival vessel."

   14              On that occasion, a Carnival waiter, while holding a

   15    saucer -- this case involved hot tea, water -- while holding a

   16    saucer was bumped into another passenger, and the waiter

   17    holding the saucer dropped the teapot on the passenger.           That

   18    prior event, incident, constituted a prior similar incident.

   19              And the Court in Richard said:       You know, I've got my

   20    grave doubts whether Pizzino goes beyond a premises liability

   21    case.   But even if it does, we've got a prior substantial

   22    similar incident.

   23              So let me get to the meaty part of Pizzino.

   24              Pizzino, I submit to your Honor, is a case of active

   25    negligence on the part of the cabin steward Rudolph.           Rather,
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    1    the Ewing case involves a lock that was fully functional and it

    2    was just not locked.      It was not locked.     Perhaps he wanted to

    3    keep his job.    Who knows?    It doesn't really matter for our

    4    purposes.

    5              Ewing involves an unsafe condition that is not the

    6    premises, but rather it's the ship's equipment rendered unsafe

    7    by the active negligence, knowing negligence, of a shipboard

    8    employee.

    9              So Pizzino is a different type of case than our case.

   10    But here's why Pizzino doesn't control:         In Pizzino, the

   11    attorneys involved in that case offered zero evidence of any

   12    actual or constructive knowledge.

   13              All they said was:     The guy was carrying the water.

   14    The water popped out.      The Plaintiff came along.      She slipped

   15    and fell.

   16              I don't have a prior substantial similar.         I don't have

   17    a lengthy period of time for constructive notice to apply.           All

   18    of those things under the heading of active or constructive --

   19    by the way, Pizzino doesn't talk about res ipsa.          It doesn't

   20    even bring it up.     It doesn't apply.

   21              Now, in our case, there are no less than six issues

   22    that demonstrate either actual or constructive notice on the

   23    part of Carnival to our case, which is why Pizzino doesn't mean

   24    anything in this world, not at least according to the Ewing

   25    case.
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    1              I'm going to list off these six, Judge.        I'm going to

    2    try to go through them quickly.       You mentioned a moment ago the

    3    testimony of Rudolph Williams, where he said a crew member, a

    4    cabin steward working in a cabin, got hurt the same way.           A

    5    cabin came crashing down.      It injured him.     You touched on this

    6    an hour and a half ago.

    7              And you made a ruling; but the fact is that Rudolph

    8    Williams, an employee of Carnival's, testified that he knows

    9    fully well because it was disseminated amongst the Carnival

   10    ranks for purposes of safety on board the ship that these --

   11    that someone had gotten hurt by a bunk that dislodged and that

   12    as a consequence of that incident, they had to implement a

   13    policy every single morning to check these locks.

   14              Point No. 1:    Carnival knew bunks that are either not

   15    locked or not working properly, however they deploy, can be

   16    dangerous.

   17              Point 2:   In this case, your Honor, we asked during the

   18    deposition of the corporate representative -- we asked her to

   19    produce -- do you have that handy?        I think it's right there.

   20    We asked her to produce any prior substantially similar

   21    incidents.

   22              Has anybody else got hurt because a bunk unexpectedly

   23    deployed?

   24              It's a table, your Honor.

   25              How would I get him to --
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    1              MS. GURIAN:    It is Document Entry 47-8, is one of them.

    2              MR. BRAIS:    Document Entry 47-8.

    3              MS. GURIAN:    -8.   Yeah.

    4              THE COURT:    Sorry.    What is 47-8?   This table that

    5    you're talking about?

    6              MR. BRAIS:    It's a table, Judge.      Does that help you

    7    for what it looks like?

    8              THE COURT:    Yes.

    9              MR. BRAIS:    So that's what it looks like, Judge.        And

   10    that's a table that was produced by Carnival with regard to:

   11    Had anybody else gotten hurt -- this is only Point 2, about

   12    actual or constructive notice -- anybody gotten hurt by a

   13    falling bunk?

   14              Carnival disclosed a Kimberly -- a case involving

   15    Kimberly Jones on 9-2-2015.       And they disclosed a similar

   16    incident involving Derrick Cross on 3-25-16.

   17              Now, you know, the argument's been made, Well, you

   18    know, it wasn't the exact same cabin; it wasn't the exact same

   19    bunk; it wasn't the exact same ship.        And all these cases that

   20    are in front of me do not limit substantially similar incidents

   21    to the exact cabin or exact bunk.

   22              And in fact, on that point, the testimony before you,

   23    your Honor, is that all of these bunks in the Fantasy class are

   24    constructed the same way.        One bunk may weigh a little more

   25    than another bunk.      The metal ones are a tiny bit lighter.       The
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    1    wood ones are heavier.      But they function the same.      They all

    2    have the same locking mechanism.       And that testimony is before

    3    the Court.

    4              So there is a similarity of circumstances.         And unlike

    5    a slip-and-fall on a deck where somebody could be hopping or

    6    skipping or jumping or using Crocs or using improper footwear,

    7    none of those dissimilar circumstances exist to render any of

    8    these cases not prior substantially similar.

    9              I'll read to you obviously Kimberly Jones:         "Top

   10    bunkbed fell.    Female claimed that while conversing with her

   11    cabin mate in her" -- I'll read to you on Kimberly Jones:            "Top

   12    bunkbed fell.    Female claimed that while conversing with her

   13    cabin mate in her cabin, M96, the upper wooden bunk" -- by the

   14    way, ours is a wooden bunk.       They're the same.     The same fleet.

   15    Same mechanism.     "The upper wooden bunkbed allegedly dropped

   16    down."

   17              Now, we took Kimberly Jones's depo.        Kimberly Jones

   18    didn't have a bunk-locking key.       Sound familiar?     Didn't open

   19    or close the bunk.     Sound familiar?     Didn't rest -- didn't

   20    utilize the bunk during the cabin.        Relied upon Carnival to

   21    single-handedly either lock or not lock or deploy or not

   22    deploy.

   23              And someone -- per her testimony, she didn't touch it.

   24    She didn't do anything.      It comes crashing down.      A runner

   25    comes.    Someone comes in.    They lock the particular bunk.
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    1    Guess what?    It doesn't fall anymore during her cruise and she

    2    doesn't get hurt.

    3              Derrick Cross, opposite him:       "Guest claimed that while

    4    he was walking towards the television in his cabin in order to

    5    get the bag and suddenly an upper bunkbed fell from the wall

    6    [sic]."    Same scenario.    Carnival was aware that upper bunks,

    7    two cases on point, can cause injury.        So there's actual

    8    notice.

    9              Point 3 --

   10              THE COURT:    Mr. -- okay.    I was about to say,

   11    Mr. Brais, you just finished Point 2 of six points.

   12              And I harken back to my suggestion about 20 minutes ago

   13    that you try to be efficient and cut to the chase.          So all

   14    lawyers have different styles.       You have, shall we say, a

   15    comprehensive style.      And let's just try to be perhaps a little

   16    more focused, because we're just not going to get this thing

   17    done today if you continue speaking in the style that you do.

   18              If the case ever goes to trial, I'm probably going to

   19    have to put some limits on you for opening statements and

   20    closing arguments because you are a lawyer -- it's not good or

   21    bad; it just is -- you have a comprehensive presentation, very

   22    detailed, repetitive.      You cover every nuance up and down and

   23    sideways.

   24              And let's just get to Point 3 and then 4, 5 and 6 as

   25    quickly as you possibly can without unfairly jeopardizing your
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    1    client's position.     Okay?

    2              MR. BRAIS:    Understood.

    3              THE COURT:    Play ball.    Step up to the plate.     Take a

    4    couple of laps.

    5              MR. BRAIS:    Point 3:   There's constructive notice

    6    because this condition -- the bunk was initially supposed to be

    7    locked on day one of a five- or six-day cruise.          We know it was

    8    never locked.    The condition existed for over that period of

    9    time.    And we know there was no screws that backed off that

   10    caused it to become inoperable.

   11              So the cases are legion that if it even exists for 30

   12    minutes, you knew or should have known about it.          He went in

   13    every morning and he could have found out.         Constructive notice

   14    there.

   15              Several crew -- next point:      Several crew testified

   16    that -- and we could give you chapter and verse; it's all been

   17    provided to you -- that they know as an employee of Carnival,

   18    cabin -- bunks that are not locked are unsafe.

   19              Point -- the next point, 5, I guess, or thereabouts:

   20    The work orders --

   21              THE COURT:    Well, wait, sir.

   22              MR. BRAIS:    Sure.

   23              THE COURT:    So Point 4:    Several crew members testified

   24    that they know that unlocked bunks are not safe.

   25              Well, so what?    How is that a point of constructive
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    1    notice or actual notice?      I mean, you could say in any case,

    2    crew members know that leaving liquid on a deck unattended and

    3    not cleaned creates a risk of someone falling.          It's sort of

    4    like a truism.     It doesn't mean there's actual notice or

    5    constructive notice of a particular situation; it's just sort

    6    of stating the obvious.

    7               I guess you could say in any case several crew members

    8    testified that if you feed passengers tainted food, they can

    9    get gastroenteritis or several crew members testified that

   10    they're familiar with the proposition that if you gave a

   11    passenger ten alcoholic drinks in an hour, that that person

   12    might get drunk and hurt himself.

   13               Well, that's not actual or constructive notice; that's

   14    just stating a principle.

   15               So unless you have some better specific facts -- I

   16    don't view Point No. 4 as being a specific factual issue

   17    demonstrating, as you say, actual or constructive notice.

   18               So do you have any more meat to put on the bone for

   19    Point 4?    Because to me, Point 4 is just sort of a generic

   20    truism that doesn't help me understand one way or another

   21    actual or constructive notice.       Anything more or Point 4?

   22               MR. BRAIS:   Only that the -- only what I argued.        The

   23    crew members testified they recognized that an unlocked bunk is

   24    a hazard because it can deploy and hit people.          That's what

   25    they said.
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    1               THE COURT:   Listen, congratulations for them, but that

    2    to me is not a point demonstrating actual or constructive

    3    knowledge that this particular bunk in this bed was either

    4    loose or malfunctioning or wasn't locking or the locking

    5    mechanism wasn't engaged.      It just is sort of stating a pretty

    6    commonsense principle about if something's not working, it's a

    7    potential risk.

    8               What's your fifth point?

    9               MR. BRAIS:   Fifth point, your Honor:      In the course of

   10    this case, Carnival produced 100 pages of work orders.           I'll

   11    just -- so you can -- this is what they look like, Judge.

   12               THE COURT:   Well, are they work orders having to do

   13    with the locks or screws on bunk beds?

   14               MR. BRAIS:   So they're limited -- the answer is yes.

   15    They're limited to the Fantasy class -- issues involving

   16    locking or nonlocking or loose screws.        I'll just give you an

   17    example.

   18               The first page of 100 pages of work orders, I looked at

   19    just the first page.      And there are 13 instances -- and I'll

   20    just read a couple:     Top bunk cannot lock; next one down, top

   21    bed bunk lock stuck; next one, top bunk cannot lock; next one,

   22    top bunk lock cannot lock properly.

   23               And the next one:    Top bunk cannot -- and this goes on.

   24    This is so -- I'd have to get out an Excel spreadsheet and

   25    figure out the total number of times that Carnival was notified
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    1    pursuant to their own inspections of these bunks and the work

    2    orders that were generated and the immediate need -- by the

    3    way, they don't put them on a normal course, "Get around to it

    4    when you can."     The policy with the cruise line because of the

    5    risk that a bunk coming down could hurt a passenger, their

    6    policy, stated policy, was, it wasn't handled in the normal

    7    course of things.      It was handled on a, quote, "work order

    8    priority high basis."

    9              I'm reading directly from it.       "Work order priority:

   10    High."   Some of them even say "top urgent."

   11              THE COURT:    What is the period of time in which these

   12    100 pages of work orders were generated?         What years?

   13              MR. BRAIS:    So it looks like it starts January 25th,

   14    2015, and it's for the three-year period leading up to the

   15    subject incident.

   16              THE COURT:    All right.    Thank you.

   17              Next point, Point No. 6?

   18              MR. BRAIS:    So No. 6 -- and this has got to do with the

   19    Carroll opinion that was Mr. -- I should probably turn it over

   20    to Mr. Parrish.     The Carroll opinion basically stands for the

   21    proposition that if a cruise line has in place a series of

   22    preventative safety policies, the fact that those preventative

   23    safety policies exists is in recognition of a potential risk of

   24    harm, which as we know is actually the case here.

   25              There are multiple policies Carnival had, including
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    1    inspecting every single day, including reporting all instances

    2    of nonfunctional equipment because of the risk of hazard.

    3              So Carnival had five or six particular pieces of

    4    information that would have alerted them that this was a

    5    potential risk.     That was not presented in the Pizzino case.

    6    That's why Pizzino does not control.

    7              THE COURT:    So that particular point, that the mere

    8    existence of a safety measure is indicative of knowledge of

    9    risk, isn't that the exact proposition that the Monteleone

   10    court rejected?

   11              MR. BRAIS:    Well, I don't know if Phil wants to -- he

   12    can let me know.     But in Monteleone, your Honor, if I recall

   13    correctly, that case, there was -- they lost all those records.

   14    I think that ship was involved in some sort of casualty.            I

   15    read the case this morning.       They lost all of the work orders.

   16              And the judge did what the Second Circuit case

   17    [indiscernible] and said:      How can you say those records would

   18    have supported the position that the cruise line knew or didn't

   19    know about a potential risk when the records were not produced?

   20              So it's a very, very different situation.         The judge --

   21    it wasn't that the records couldn't prove X or Y or knowledge

   22    on the part of the cruise line; it was that the lower court

   23    decided, Hey, you can't guess what those records are going to

   24    say.

   25              THE COURT:    So just refresh my recollection.       Is
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    1    Carroll a district court opinion or a circuit court opinion?

    2              MR. BRAIS:    Phil?

    3              MR. PARRISH:    Your Honor, Philip Parrish.

    4              It's an Eleventh Circuit published opinion issued on

    5    April 15th.

    6              THE COURT:    Oh, that's right.     Very, very recently,

    7    like within the past two weeks.

    8              MR. PARRISH:    Right.   So it would control over

    9    Monteleone in any circumstance.

   10              THE COURT:    Right.

   11              MR. PARRISH:    If I could address very quickly on

   12    Pizzino and Carroll:

   13              Appellate courts only address issues that are raised to

   14    them.    Nobody in Pizzino pled, apparently, or argued that

   15    Carnival was liable vicariously for the barista spilling the

   16    water.   They simply addressed it as a typical, your Honor,

   17    foreign substance on the floor.       If you created that foreign

   18    substance, then you don't have to show notice.

   19              Well, the truth is, you don't when it's active

   20    negligence.    If it had been analyzed properly like Franza was,

   21    nobody argues that you've got to show that the ship was on

   22    notice that its doctor was going to commit malpractice on a

   23    given day.

   24              And this also goes to the notice of supplemental

   25    authority I did in Franza, which cites two pages' worth of
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    1    vicarious liability cases.       You do not have to establish notice

    2    when you are suing Carnival for the negligence of its crew

    3    member.    You simply have to establish that it is their crew

    4    member.    And in this case, that's undisputed.

    5              So Pizzino cannot apply in this case because it did not

    6    ever analyze the issue of vicarious liability, just like in

    7    Pizzino, they rejected the reliance of the Plaintiff on

    8    Sorrels, because in Sorrels, notice had not been an issue.

    9    They said:    Well, but in Sorrels, the Defendant didn't argue

   10    that there wasn't any notice or that the standard was

   11    different.

   12              But getting to Carroll:      Reading from Headnotes 10 and

   13    11, actually, from the opinion, but it's Headnotes 10 and 11,

   14    "Evidence that a shipowner has taken corrective action can

   15    establish notice of a dangerous or defective condition."           And

   16    they go on and talk about warning signs.

   17              In this instance, they admitted that if they laid the

   18    lounge chairs out in a certain fashion, it could create a

   19    dangerous condition.      Here, Carnival admits that these

   20    bunkbeds, if they're not checked on a daily basis, you know,

   21    gravity takes effect.      And if they're not locked properly and

   22    checked properly, they can fall.         They know from prior cases

   23    they can fall.

   24              And the corrective measure they've taken here is

   25    they've adopted a policy whereby each cabin steward is to check
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    1    each bunkbed on a daily basis.       And there is evidence in the

    2    record, I would suggest, that he did not.         And if there's

    3    evidence to support that and we're alleging that he was

    4    actively negligent, then we come within the vicarious liability

    5    under Franza and the cases cited therein and not under Pizzino,

    6    which never addressed vicarious liability.

    7              THE COURT:    So we've got into this discussion of the

    8    six so-called evidentiary badges of actual or constructive

    9    notice and we veered into a discussion of Carroll.          We took a

   10    brief detour down Franza Boulevard.        But all of this began with

   11    Question No. 3.     And we've heard from Mr. Brais and we heard

   12    from Mr. Parrish.

   13              The one person I haven't heard from yet on Question 3

   14    is Mr. Scarry.     And so let me hear from Carnival, please, on

   15    that.

   16              MR. SCARRY:    Thank you, your Honor.

   17              Pizzino does control.      And no amount of moving the ball

   18    can change that.

   19              Mr. Parrish said that Pizzino is not about vicarious

   20    liability.    And I have to respectfully disagree with him.         It's

   21    all about vicarious liability.       That case is all about active

   22    negligence of an employee, which is synonymous for vicarious

   23    liability.    They are the two identical, exact same concepts.

   24              In fact, the situation involved in Pizzino again

   25    mirrors our situation here, where a cabin -- not a cabin
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    1    steward, but a restaurant steward allegedly spilled water out

    2    of buckets and then walked away from it, and then to make

    3    matters worse, at deposition said, "I didn't spill any water."

    4              THE COURT:    By the way, by the way, didn't you think it

    5    was weird -- it struck me as factually weird -- that in order

    6    to get the buckets of water that he needed to clean up the

    7    coffee bar area that he had to walk all the way down to the

    8    casino of all places to get the water and then schlepp the

    9    water back to the coffee bar?       It just was -- I sort of

   10    chuckled to myself that that's where you went for the water.

   11    The casino?    It's sort of weird.

   12              But anyways, go ahead.

   13              MR. SCARRY:    So yeah.    Well, not having been aboard

   14    this ship, it's very possible a coffee bar is just down the

   15    hall.

   16              But be that as it may, what Pizzino stands for is the

   17    abrogation of the doctrine that we saw for many years, which

   18    started with the Rocky case from Judge Gold.         And that case had

   19    an effect on the local bar.       We all dealt with it.     And it

   20    basically for a time abrogated the rule that actual or

   21    constructive notice was required.        And it emerged out of

   22    nowhere, really.     And I call it the creation rule.       If one of

   23    your employees creates the dangerous condition, you're done.

   24    And that's the end of the analysis.        There is automatic

   25    liability.
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    1              And Pizzino goes to great length to say, if we go a

    2    little further back in history, not only does the Everett case

    3    stand for that proposition, that actual or constructive notice

    4    is required, but in my view what's even more important is that

    5    it puts a case like Everett, which involved a physical

    6    component of the ship, a threshold, and it puts it on a par

    7    with the actions or omissions of the crew.

    8              It's not one rule applies one way and one rule applies

    9    the other.    The Everett rule of actual or constructive notice

   10    applies across the board.

   11              And so if a crew member -- in Rocky, it was the cruise

   12    director who put the bingo board up with the bungee cords.

   13    Here, we're talking about Mr. Williams.         And so as I like to

   14    say or as I've heard said many times, so what?          If the

   15    Plaintiffs are traveling down the road of active negligence, so

   16    what if they keep good maintenance records?         So what if in a

   17    class of eight ships and tens of thousands of passengers every

   18    month for three years we have to fix locks, we have to fix

   19    dampers, we have to paint, we have to do the hinges?           If the

   20    cabin steward observes something that's not right, they report

   21    it.   If those records show anything, it shows we have a very

   22    good reporting procedure.

   23              And so if we want to take Carroll and flip it on its

   24    head and turn every case where the Defendant vessel operator

   25    has a procedure, well, then, we might as well just throw in the
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    1    towel because then we go back even further because the vessel

    2    operators are not insurers of passenger safety.          And that's the

    3    rule that the Plaintiffs here want to endorse, that we are an

    4    insurer, because Mr. Ewing got hurt.

    5              I'll wrap this up real quick, though.        I think I'm

    6    almost done.

    7              Pizzino involved the spilled water, which the gentleman

    8    said, "I didn't spill any water."        Mr. Brais is incorrect.

    9    They did argue actual or constructive notice.          There was

   10    evidence from Mrs. Pizzino and her husband that there were

   11    puddles, four- to six-inch puddles, all over the floor.            So

   12    that issue was in play.      And the Court -- the Court went back

   13    in time and said:     No.   The rule of actual or constructive

   14    notice is going to apply.

   15              The last thing I'll say, your Honor, with regard to the

   16    issue of prior incidents and whether eight ships over three

   17    years -- that's 24 months -- with more than almost 2,000

   18    passengers -- I take that back -- about 1500 passengers a

   19    cruise, that's a lot of cruises.       Plaintiff has put forth

   20    evidence of one prior incident involving Ms. Jones.          She was

   21    the only person deposed.

   22              I attended that deposition.      She said:    The bunk just

   23    opened.    It bumped me on the head.      I got a headache.

   24    Fortunately, she didn't have any injuries that required

   25    treatment after the cruise was over.
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    1              But there is a well-established line of cases in the

    2    Southern District.      One of them is the Tesuriero case, which

    3    you asked us to be familiar with.        And that along with the

    4    Wiener case, one of my favorites, and the Mercer case stand for

    5    the proposition that this concept that the Plaintiffs want to

    6    endorse here, which I refer to as this general foreseeability,

    7    it's generally foreseeable that people can get hurt for all

    8    kinds of reasons.      Just because we have procedures to ensure

    9    the locking doesn't mean that we're admitting that anytime a

   10    bed opens that we're automatically liable as an insurer.

   11              And I would submit that those line of cases, including

   12    Tesuriero, stand for the proposition that you need to have

   13    instances of prior incidents with a sufficient frequency to put

   14    you on notice.     And prior to Mr. Ewing, on this class of eight

   15    ships, only Ms. Jones, one incident.        That's the only one that

   16    arguably is substantially similar.

   17              THE COURT:    Those two cases that you cited for me,

   18    Wiener and Mercer, are they cited in your briefs?

   19              MR. SCARRY:    I believe -- no, they're not, because I

   20    retrieved those after reviewing the Plaintiff's list of

   21    supplemental authority.

   22              But it does go to this issue of foreseeability in the

   23    context of prior incidents, your Honor.

   24              THE COURT:    So is it one of the reasons why it's -- why

   25    these two cases are your favorites, were you the counsel of
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    1    record in those two cases?

    2              MR. SCARRY:    I was.

    3              THE COURT:    You were?    Okay.   Fair enough.

    4              By the way, just to be a little bit of a neurotic here,

    5    Katie, are you still with us?       Because I don't see your picture

    6    here on the screen.     You don't have to show us.       I just want to

    7    make sure that you're here.       There you are.    Okay.   If you want

    8    to, you can go dark again.        I just wanted to make sure, because

    9    your mic was off and your video was off and I'm saying, Oh, my

   10    gosh.   Why is she not out there taking good notes?         Okay.   Fair

   11    enough.

   12              So next we're going to move to -- it's actually the

   13    fourth question from Carnival.       But the way they designated

   14    them by number was, 3 for one motion and 3 for the next.            So

   15    it's technically listed as Question No. 1 under the Plaintiff's

   16    motion for partial summary judgment.         But I'm calling it

   17    Question 4, a/k/a Question 1 for Plaintiff's summary judgment

   18    motion.

   19              So here's the question.      This is a question for the

   20    Plaintiff.    You can figure out between yourselves, Mr. Parrish

   21    and Mr. Brais, who will be the spokesperson.

   22              Why shouldn't the Court's res ipsa loquitur analysis in

   23    Tesuriero versus Carnival Corp. preclude the application of res

   24    ipsa loquitur in the current case?        So who's going to be the

   25    talking head for the Plaintiff on that one?
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    1              MR. BRAIS:    I'll do that, Phil, unless you have a

    2    preference.

    3              MR. PARRISH:    Go ahead.

    4              MR. BRAIS:    Tesuriero, the facts are -- the claim was

    5    brought with regard to a supposed chair that was defective in

    6    which she sat on it inside her cabin.        The requirements of res

    7    ipsa loquitur were simply not met.        If you don't meet the three

    8    requirements, then you can't argue res ipsa.         And the Court

    9    concluded in that case that there were these plausible

   10    alternative other reasons for the incident to have occurred

   11    that failed to satisfy one of the prongs of the res ipsa

   12    loquitur.

   13              THE COURT:    Mainly, that there were no alternative

   14    explanations?

   15              MR. BRAIS:    Mainly, that there was an alternative

   16    explanation.    That didn't mean it had to rise to an inference

   17    that the cruise line had to have caused it.         So I think we're

   18    saying the same thing.

   19              I wanted to find the actual language, Judge.         Why don't

   20    I go to the opinion, because I highlighted it.

   21              THE COURT:    It was a fairly lengthy opinion written by

   22    my colleague, Eddy Torres, who probably reviewed about 150

   23    cases and wrote all about them in that opinion.          He does a

   24    masterful overview of all the case law, not just in Florida,

   25    but really nationwide on the doctrine of res ipsa.          So he can
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    1    probably teach a course at the University of Miami Law School

    2    on res ipsa loquitur just based on this one case alone, because

    3    it covers pretty much every nuance of res ipsa loquitur law.

    4               MR. BRAIS:   You're 100 correct on that one, Judge.

    5               But because a case on all fours doesn't satisfy the

    6    criteria of res ipsa loquitur doesn't mean that res ipsa

    7    loquitur can't be applied in another maritime case.

    8               THE COURT:   Of course.

    9               MR. BRAIS:   It just means that the three criteria were

   10    not met.    In that case, if I recall correctly, I think it was

   11    the case where there was a conflicting testimony with regard to

   12    why the -- is this the one where I think the person weighed a

   13    certain amount and they sat on a chair?         I'm confusing them.

   14               But anyway, they didn't satisfy those criteria.         And as

   15    a consequence, it doesn't have any precedential effect, if you

   16    will, insofar as our case is concerned if our case meets the

   17    criteria under res ipsa.

   18               So I mean --

   19               THE COURT:   So basically, if I wanted to cut to the

   20    chase, your response would be:       Well, of course, Judge.      Res

   21    ipsa is the law, and it can apply in any particular case.           And

   22    it just so happens that [indiscernible] for the Tesuriero case,

   23    the facts do not justify the use of that theory, but the facts

   24    here do.

   25               That's basically what you say.      Right?
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    1              MR. BRAIS:    That's it, Judge.

    2              THE COURT:    Okay.    Mr. Scarry, from you, sir?     Your

    3    response?    Your microphone is still on mute.       I can't hear you,

    4    Mr. Scarry.    There you go.

    5              MR. SCARRY:    Mr. Horr is slated to handle the res ipsa

    6    aspects of the argument.

    7              THE COURT:    Well, his microphone is on mute as well.

    8              MR. SCARRY:    He's working.    I can see him furiously

    9    tapping his.

   10              THE COURT:    So, Mr. --

   11              MR. HORR:    Judge --

   12              MR. SCARRY:    There we go.    There we go.

   13              MR. HORR:    Here, Judge.

   14              THE COURT:    There's a little note on the top right-hand

   15    side of the computer.

   16              MR. HORR:    Yeah.

   17              THE COURT:    It says childproof.

   18              MR. HORR:    Yeah.    Self-evident, kind of res ipsa right

   19    here.   You're looking at it right here, Judge.

   20              THE COURT:    Right.

   21              MR. HORR:    Anyway, you know, Judge, you just made the

   22    comment about Judge Torres's analysis in Tesuriero.          I agree.

   23    So I think Tesuriero does control here.         I think that the

   24    analysis and the facts go -- this is not an instance for res

   25    ipsa application.
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    1              So if I can, I'll go through it quickly, but I think

    2    it's a good time to do that.

    3              First, Judge, res ipsa is an evidentiary rule that can

    4    provide Plaintiff with an inference of negligence where direct

    5    proof is wanting.     It raises an inference of negligence.        It's

    6    not a legal theory.

    7              Where the Plaintiff can meet all three elements, the

    8    jury may receive a res ipsa loquitur jury instruction about an

    9    inference of negligence the jury may use to conclude the

   10    Defendant was negligent.

   11              Again, it's not a directed verdict or summary judgment

   12    result.

   13              Important for the context where we are now, summary

   14    judgment, it's an evidentiary instruction for the jury about

   15    what they may or may not choose to infer about negligence; and

   16    application of res ipsa simply permits, but ordinarily doesn't

   17    compel, the inference of negligence on the part of the

   18    Defendant.

   19              So for the Plaintiff to urge in support of summary

   20    judgment, a lot of the cases you wanted us to be familiar with,

   21    Judge, if you look at the res ipsa application, almost

   22    universally they are instances where the Plaintiff used res

   23    ipsa to defeat summary judgment, not to prevail on summary

   24    judgment.    Not surprising, given the fact that it only raises

   25    an inference of negligence and it's not one that is compelled;
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    1    it's permissible.     It's something that the jury is instructed

    2    on, not the stage where we are here today.

    3              So let's talk about the elements.       Element 2,

    4    exclusivity of possession of the mechanism:         The undisputed

    5    facts here show that the Plaintiff Ewing was in the room by

    6    himself when this accident is claimed to have happened.

    7              Regarding Elements 2 and 3, the record very clearly

    8    shows an alternative explanation for how the bunkbed comes to

    9    deploy notwithstanding it was left locked by Williams when he

   10    testified undisputed and unequivocally that he checked it that

   11    very morning.

   12              The alternate explanation is at odds with Plaintiff's

   13    contended basis for [indiscernible] negligence.          You heard it

   14    again today.    Active negligence, Williams locked and checked

   15    the bunk.    The alternative explanation [indiscernible] from the

   16    evidence, from the assessment and analysis that Defendant's

   17    liability expert Brian Emond performed.         The prospect of the

   18    explanation offered by Emond was conceded at a deposition by

   19    Plaintiff's expert Kadiyala in a couple salient respects.

   20              On Page 72, he conceded he did not disagree that the

   21    bed could open if the latch disengaged due to forces that were

   22    present at the time of Mr. Ewing's accident.

   23              At 73, he conceded that the accelerations and

   24    vibrations that the ship was subject to at that point were

   25    sufficient to cause the bunk to deploy.
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    1              At Pages 76 through 82, Kadiyala agrees that there are

    2    at least two scenarios where the mechanical engagement of the

    3    latch and the latch bracket, because those are the two parts --

    4    we're going to look at them in a second -- where the latch and

    5    latch bracket can fail, allowing the bed to deploy.

    6              At Page 81 -- and this is important, because something

    7    that Mr. Brais argued earlier in a different context, Kadiyala

    8    concedes you can't see the latch in the bracket and the screws

    9    that were found to be loose because they're inside of the bed

   10    assembly.

   11              So the alternative explanation offered by Emond is not

   12    [indiscernible] the fact by the testimony that Carnival

   13    witnesses that Mr. Brais's been talking about a lot today who

   14    encountered the bed subsequently.        So let's examine a little

   15    closer.

   16              First, Judge, this is the photo that we put in with one

   17    of our questions.      Do you kind of recognize it?

   18              THE COURT:    Yes.

   19              MR. HORR:    Right here, [indiscernible] -- let's -- if I

   20    can pull this up.      Right here in the middle is where this

   21    mechanical engagement process is illustrated.

   22              And if you look at the picture closely, your Honor --

   23    I'm not going to be able to pull that up -- but basically, the

   24    term "lock" has been used here.       This is more of a latching

   25    mechanism.    It -- the latch is on one side and it connects with
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    1    the bracket and it forms this interface right here which

    2    creates this mechanical engagement.        And that's how the thing

    3    is held in place.

    4              So when that mechanical engagement is not maintained,

    5    there's slippage that can come down.        The important concept --

    6    right now is a good time to mention it, because I'm showing you

    7    the picture.    Mr. Brais has been harping a lot of testimony

    8    about lock, lock, lock, the lock worked.

    9              Here's the distinction:      Here's the lock, your Honor.

   10    This is where the crew member sticks the key.         The key turns in

   11    the lock.

   12              Now, the mechanical impact is back behind.         It moves

   13    this latch into mechanical engagement.        But if the internal

   14    mechanism isn't working properly here because of the loose

   15    screws we're going to talk about in a minute, it's not going to

   16    latch with the bracket.      So the mechanical engagement will not

   17    occur.   The lock will turn fine.      The lock will not tell the

   18    person using it that there's anything going on.          And as we know

   19    from Kadiyala, their expert, you -- notwithstanding what

   20    Mr. Brais was trying to say this morning, you can't see in here

   21    to see this interface.

   22              So let's talk about what Mr. Emond explained about the

   23    details in conjunction with the mechanics of this lock.           Emond

   24    explains that the winds and seas at the time this was all going

   25    on with Mr. Ewing, coupled with the course direction of the
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    1    vessel that it was traveling, were expected to result in added

    2    vessel motion.

    3              This is corroborated by Ewing's testimony, because he

    4    said that it was rough seas at the time.

    5              Emond explained that these conditions could be expected

    6    to result in ship motions, including some accelerations and

    7    vibrations, the same things Kadiyala conceded could defeat the

    8    mechanical engagement.

    9              Ewing testified when the bunk was opened post-accident

   10    the latch was broken and a screw was found on the bed.           This is

   11    the famous passage of Page 105 that the Plaintiff wants to

   12    declare away much later in the game, but the testimony is

   13    there.    And that's not all.

   14              If the screw was loose or missing, the latch bar can

   15    rotate.    The lock tab can move past the latch bar and the bunk

   16    may be opened and deploy if sufficient force exists, meaning

   17    the movement of the vessel in the water is such that if the

   18    mechanical engagement isn't there, it's going to jar the bed to

   19    come down.

   20              So the -- this is Emond's explanation continued, your

   21    Honor:    The seas' condition -- the sea conditions documented

   22    and the ship's motion described by the Plaintiff in his

   23    testimony would make it possible for the bunk to work itself

   24    open.    So again, there's that notion of exclusivity defeated

   25    because we have forces of nature operating.
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    1              Furthermore, the screws under discussion are not

    2    visible when the bunk is in the closed position.          And as I

    3    said, at Page 81, Plaintiff's expert Kadiyala concedes the

    4    same.

    5              If the screws are loose, with the mechanism in the

    6    locked position, the bunk would appear to a person pulling on

    7    the handle to be safely locked.

    8              That right there distinguishes Mr. Brais's argument

    9    about, Oh, we have testimony and all these Carnival witnesses.

   10    Well, before it works its way loose, it could give the

   11    appearance of being caught because it would be caught.           But the

   12    working of the environment on this over time would defeat the

   13    mechanical engagement and allow it to come loose.

   14              Importantly, Judge, the same accelerations and

   15    vibrations from the wind, seas and vessel movement which would

   16    act upon the bed -- the bunk to bring it down would also be

   17    acting on the screws to loosen them and cause them to

   18    eventually fall out.

   19              It's a dynamic process.      It's going on.    It's physics.

   20    A loose screw could go undetected with the bunk -- until the

   21    bunk fell open, even if the cabin steward had previously

   22    checked to see if the bunk was locked by pulling on it.           The

   23    reason being is it's a gradual process and the mechanical

   24    engagement had not been defeated yet.

   25              And there's no evidence that any Carnival crew members
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    1    had any indication of the failure of the bunkbed locking

    2    mechanism prior to this incident, because the nature of the

    3    process is, it's an internal process going on, not subject to

    4    being seen, and it's not -- it's not going to be visible until

    5    it happens.

    6              So Plaintiff's arguments that Carnival crew members

    7    saying they observed the bed to be locked doesn't change this

    8    issue of fact, because from their perspective, the mechanical

    9    engagement had not yet been defeated at that point.

   10              Tefora:    He's the guy who comes to the scene first

   11    post-accident.      From Page 54, Line 23, to Page 55, Line 12.

   12    I'm giving you those passages specifically, your Honor, because

   13    there's a lot of stuff being thrown around about who said what.

   14    Very specifically, Tefora says:       I did not pull on the bed to

   15    confirm it was locked.      Visual inspection only.

   16              Meaning I turned the key in the lock; and as I

   17    illustrated to you, that doesn't necessarily mean mechanical

   18    engagement.

   19              Page 61:    He didn't check the locks for any problems

   20    before he went to lock.      He just turned the key in the lock.

   21    He wasn't looking for anything.

   22              Rotairo, the joiner.     Three passages only, your Honor.

   23    We've beaten it up a lot.      But again, pages and lines, I think,

   24    are important.      Page 30, Line 5, to Line 12:     He asked the

   25    supervisor what happened.      He was told there was some issue
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    1    with the upper bunk.

    2              Page 30, Line 16 to Line 24:       He was told the top bunk

    3    needed to be checked, so he checked; and as your Honor's

    4    established, this was the day following the event.

    5              Very important.     And this totally nullifies a lot of

    6    the things that Mr. Brais's been arguing for because factually,

    7    with all due respect to Mr. Brais, he was incorrect.           Page 31,

    8    Line 7, to Page 32, Line 5:       That passage illustrates that when

    9    Mr. Rotairo first arrived in the cabin, he pulled down on the

   10    upper bunk and it came down, meaning it wasn't locked.           He was

   11    able to pull it down.

   12              After that, he repaired the loose screws and restored

   13    the mechanical engagement and then it stayed up.

   14              So here we have why res ipsa has no application here.

   15    The joiner initially said the bed was unlocked when he got

   16    there.   Per Emond's explanation, when the bed is put to the

   17    upright position and the lock turned, meaning this part, the

   18    latch portion potentially had the capacity to work somewhat,

   19    but because of the movement of the ship over time, the

   20    mechanical engagement could get defeated.         And the notion of

   21    the screws, they weren't visible to be susceptible of being

   22    observed.

   23              And the law is very clear in the maritime context, your

   24    Honor:   The duty of reasonable care doesn't obligate the ship

   25    to take the ship apart to make inspections.         It's only what's
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    1    reasonable.

    2              So in this instance, Judge, the doctrine of res ipsa

    3    loquitur, with all due respect, we don't think gets the

    4    Plaintiff anywhere.     I don't think the facts qualify for it.

    5    And second of all, even if you assumed arguendo for this point

    6    only that it did, it's only an inference of negligence.           It's

    7    not a basis on which the Court can enter summary judgment.

    8              THE COURT:    All right.    Well, meaning not a basis to

    9    enter summary judgment in the Plaintiff's favor?

   10              MR. HORR:    Correct; which is where the Plaintiff

   11    principally argues it.

   12              THE COURT:    Right.   But wouldn't you concede that the

   13    doctrine could be used to cause the defeat of your summary

   14    judgment motion?

   15              MR. HORR:    In a theoretical sense, your Honor, by

   16    virtue of what we saw Judge Williams do, for example, in Millan

   17    in 2015, theoretically, yes.       Factually and evidentiarily [sic]

   18    here, no, because the doctrine does not apply on the record,

   19    just like in Tesuriero.

   20              THE COURT:    All right.    Bear with me just a minute,

   21    please.

   22              MR. HORR:    Yes, sir.

   23              THE COURT:    We're now going to go on to Question 5,

   24    also designated as Question 2, regarding Plaintiff's summary

   25    judgment motion.
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    1              This one has quite a long lead-up.        So if anybody on

    2    the Plaintiff's side wants me to repeat it after I'm done, I'm

    3    happy to do it.     Here we go:

    4              The District Court of Massachusetts applied the res

    5    ipsa loquitur doctrine in O'Connor versus Shandras Lines, the

    6    case relied upon by Plaintiff, due to the fact that there was

    7    no evidence of the age of the ship or evidence of the last time

    8    the bunk beds were surveyed or inspected.         Furthermore, there

    9    was no testimony regarding the condition of the bed prior to

   10    the accident.

   11              Why should O'Connor control when there is no record

   12    evidence in the current case that Plaintiff's cabin bunks were

   13    checked for proper functioning the morning of the accident,

   14    there is no record evidence that no pending or outstanding work

   15    orders were in existence at the time of the claimed accident

   16    and there is no record evidence that the cabin was in poor

   17    condition or improperly maintained?

   18              MR. BRAIS:    Keith Brais, your Honor.

   19              THE COURT:    Would you like me to repeat it or are you

   20    good?

   21              MR. BRAIS:    No.   I think I've got the gist of it.

   22              There's ample -- well, first of all, case by case, res

   23    ipsa applies or it doesn't apply.        Either it meets the criteria

   24    or it does not.     Either it applies in one case favorable for a

   25    plaintiff or a defendant.      It doesn't really matter when you
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    1    look at it in the next case.

    2              THE COURT:    Well, that's generally true, except if you

    3    have some other case where the facts there are substantially

    4    similar, then it might have some precedential value.           So yes,

    5    I'd agree with you that res ipsa is analyzed on a case-by-case,

    6    factual-scenario-by-factual-scenario basis.         But if there's

    7    another case out there involving a bunkbed that was

    8    surprisingly deployed on a cruise ship and the issue is whether

    9    or not res ipsa could apply, that would be the type of case

   10    which might be deemed as particularly significant here.

   11              Now, you haven't cited any cases to me with that level

   12    of similarity, nor has the defense.        But I mean, there could be

   13    one or more cases out there which are factually similar.           Don't

   14    you think?

   15              MR. BRAIS:    O'Connor is maybe perhaps as close as we're

   16    going to get maybe --

   17              THE COURT:    All right.

   18              MR. BRAIS:    -- in its application of Millan, I think

   19    the Judge Williams opinion, insofar as the application of res

   20    ipsa and how it does track our particular case and why it

   21    should be applied.

   22              The suggestion that there's no evidence of the bunk of

   23    active negligence on the part of the cabin steward and the

   24    suggestion we should accept as true, which is certainly not the

   25    test when it comes to summary judgment, and accept as true the
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    1    cabin steward's representation that he locked it on the first

    2    day and he physically checked it every day thereafter is

    3    completely contradicted for the reasons I mentioned before --

    4    and I'll not spend a lot of time on it -- that the first person

    5    who enters the cabin afterwards, the runner, very clearly says

    6    that -- and let's set aside whether he locked it or not.           I

    7    don't really care for these purposes.        Let's focus on the fact

    8    he says, "I didn't make any repairs."        And no one on the other

    9    side is disputing that.

   10              I hear my name mentioned a lot.       But Mr. Horr or

   11    Mr. Scarry, they don't dispute the very critical material

   12    testimony by the runner that "I did not effect any repairs."

   13              The following day, there's apparently a dispute with

   14    regard to what the record is, because the following day -- I

   15    just read to you two pages from the joiner who says, Before I

   16    effected any repairs, that lock was fully functional.

   17              If there were no repairs made by the runner and if on

   18    the following day the lock is completely functional before any

   19    tests were made, then there's evidence at complete odds to the

   20    cabin steward's representation that he locked that bunk or that

   21    he checked it every day.

   22              It's as simple as that.

   23              THE COURT:    Carnival, who's arguing for you?

   24              MR. HORR:    Sir?

   25              THE COURT:    Who is arguing for Carnival?
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    1              MR. HORR:    Me, Judge.    I'm discussing summary judgment.

    2    I'm up.

    3              THE COURT:    Yes.

    4              MR. HORR:    Mr. Brais makes the statement that O'Connor

    5    is as close as we're going to get, assuming that Plaintiff is

    6    at least talking about it, about the application of res ipsa

    7    loquitur.    All right?

    8              Well, I don't think they get very close, because,

    9    first, foremost, in the opinion, Senior District Judge Julian

   10    makes it clear that he's making his findings after a trial on

   11    the merits.    So the circumstances in this case are totally

   12    distinct, because here we are at the stage of summary judgment.

   13              Mr. Brais makes the statement that it's a misnomer to

   14    accept as true what Williams says, that every day and the day

   15    of this accident he inspected the bed and pulled it down.

   16    Well, that's the standard, your Honor.        The law is clear that

   17    it applies here.

   18              Quoting from Underwood:      The Court, quote, "must view

   19    all the evidence and all factual inferences reasonably drawn

   20    from the evidence in the light most favorable to the nonmoving

   21    party in the case of Plaintiff's motion for summary

   22    judgment" -- that's us -- "and must resolve all reasonable

   23    doubts about the facts in favor of the nonmovant; again, it's

   24    Carnival.

   25              Importantly, at the summary judgment stage, the Court's
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    1    task is not to weigh the evidence and determine the truth of

    2    the matter, but to determine whether there is a genuine issue

    3    for trial.

    4              And then from Anderson, US Supreme Court, 1986,

    5    credibility determinations:       "The weighing of the evidence and

    6    the drawing of legitimate inferences from the facts are jury

    7    functions, not those of a judge, whether he is ruling on a

    8    motion for summary judgment or for a directed verdict."

    9              Well, basically, listening to the Plaintiff's argument,

   10    they've conceded that their theory is Williams' active

   11    negligence in not doing what he was supposed to do.

   12              Williams says:    I did it.

   13              Plaintiff argues:     Oh, but I have all of this other

   14    contradictory evidence and/or circumstantial evidence that says

   15    otherwise than what Williams says, according to how Plaintiff

   16    argues it.

   17              I'd submit, Judge, that right there, that nullifies

   18    summary judgment for Plaintiff, because those are all -- that's

   19    all credibility, weighing of evidence, drawing of conclusions.

   20    And the standards that your Honor properly operates under,

   21    which we know you're going to, preclude that.

   22              I mean, Williams's testimony is unequivocal.         That day

   23    and every day of that cruise, he inspected the bed and pulled

   24    it down like he was supposed to and it worked properly.

   25              I've read you the passages by the -- you know, there's
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    1    an alternative theory that nullifies the application of res

    2    ipsa loquitur.     And I've gone into the facts, and I'm going to

    3    try to contribute to your ability to move this along.           So I'm

    4    done.

    5              THE COURT:    All right.    Thank you.

    6              Bear with me just a minute, please.

    7              Moving on to Question No. 6, which is also Question 3

    8    regarding Plaintiff's summary judgment motion.          This one is

    9    medium length.     But if you want me to repeat it, I'll be happy

   10    to do that.

   11              Given the fact that Defendant's expert testified to the

   12    ability of the latch screw to work itself loose over time and

   13    cause the locking mechanism to malfunction, Plaintiff's expert

   14    identified two scenarios where combinations of screws loosening

   15    and/or falling out can create a scenario where the latch and

   16    the latch plate can become mechanically disengaged.          And

   17    Plaintiff testified that a loose screw was found on his

   18    bedsheets.

   19              How do those facts not establish an alternative

   20    probable cause to preclude the application of res ipsa?            For

   21    ease of reference, a diagram of the locking mechanism from

   22    Plaintiff's expert's supplemental report is attached as Exhibit

   23    5.

   24              So, Mr. Brais, is that you again?        Or is this something

   25    from Mr. Parrish?
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    1              MR. BRAIS:    That's me again, your Honor.

    2              THE COURT:    All right.

    3              MR. BRAIS:    So let's take -- the hypothetical was

    4    introduced to Dr. K that if -- if, all of which meant that a

    5    screw would have to be entirely loose, the backing plate

    6    dislodged, and under those set of facts there would be a

    7    nonengagement of the tab with the locking bar.

    8              But let's take it -- just for hypothetical purposes

    9    assume that what the defense is really arguing is that that's

   10    what happened here and that explains why the bunk came down,

   11    because if that's not what happened here, we're wasting our

   12    time talking about it, that it doesn't become a possibility or

   13    a probable cause for why things occurred.

   14              But contrast that hypothetical, which facts do not

   15    apply because of the following:       The runner comes into the

   16    room.   The runner discovers that he doesn't do any repairs.

   17    The next day, they check it.       And without effecting repairs,

   18    the lock is functional.      They pull down on it several times.

   19              It means that the hypothetical that was asked of

   20    Dr. Kadiyala does not exist in our case.         Let's look at it 180

   21    agrees from that.      If what Dr. Kadiyala was saying, Yeah,

   22    that's a possibility, there could be a series of facts where

   23    the lock would not work.      And on the following -- remember, no

   24    repairs were made.

   25              The following day, when the inspection was undertaken,
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    1    why did the lock work perfectly before any repairs were made?

    2              Because that hypothetical doesn't apply, didn't apply.

    3    Those facts didn't happen.       And the lock was fully functional

    4    and engaged and could have locked.

    5              If the testimony from the inspection was, When we

    6    looked at it, we couldn't get this thing to work, and the

    7    screws were so backed off we couldn't get the latch bar to

    8    connect behind the latching plate, if that was the testimony

    9    from the Carnival representatives, then I would agree there

   10    could have been another means by which this could have failed

   11    other than the only possible reason this failed under our set

   12    of facts, which is that he never locked it in the first place.

   13              THE COURT:    Right.

   14              Well, so let's talk about that for a minute.         Your

   15    primary theory is active negligence by the Defendant's employee

   16    under vicarious liability theory.        Your primary theory is that

   17    the cabin steward never actually went in and checked the

   18    bunkbed lock as he was supposed to.

   19              Your primary theory is that the Defendant lied when he

   20    said that he did check it, because after all, he doesn't want

   21    to lose his job.     He was required to perform that inspection.

   22    And therefore, he is saying falsely that he did it.

   23              But the truth, according to your theory, is that he

   24    didn't.    So this is active negligence.

   25              So isn't that in fact just in and of itself, not even
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    1    talking about any other theory, isn't that an alternative

    2    theory, an alternative explanation, that would preclude the

    3    application of res ipsa?

    4              MR. BRAIS:    The test being under res ipsa is whether

    5    there's an alternative cause for the event to have occurred

    6    other than negligence on the part of Carnival.          That's the

    7    test.

    8              And you just questioned -- the question focuses on, so

    9    if you're right, Brais, Attorney Brais, and if there was active

   10    negligence on the part of Carnival, and if he didn't lock it

   11    properly, then isn't there an alternative means?

   12              No, there's not.     It just means that Carnival is, in

   13    fact, 100 percent responsible, which is consistent with the

   14    test under res ipsa.

   15              And by the way, it's not as -- there's two things the

   16    cabin steward could have done.       He could have turned the lock

   17    and thought he'd locked it.       And you have before you a series

   18    of photographs where the locking tab rubs on the face of the

   19    locking plate.     The tab rubs -- which means if you don't push

   20    it all the way into the wall and you turn it, the tab doesn't

   21    engage behind the plate.

   22              So he could have thought that he locked it in the first

   23    place.

   24              What he could not have done thereafter is done the

   25    mechanical pull-down test, because obviously he would have
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    1    learned that it wasn't engaged.

    2              Or alternatively, which is what you said a moment ago,

    3    he could have simply done -- he could have simply said, you

    4    know, I'm -- I heeded the lock, notwithstanding what he said,

    5    with no repairs having been done, and found it completely

    6    functional, one of those two scenarios.

    7              But in either case, he didn't lock it properly or he

    8    didn't bother to lock it at all.       That satisfies res ipsa

    9    loquitur --

   10              THE COURT:    So --

   11              MR. BRAIS:    -- on the --

   12              THE COURT:    Got it.   Got it.    Got it.   Thank you very

   13    much.

   14              Who's going to argue for Carnival on this question?

   15              MR. HORR:    Me, Judge.

   16              THE COURT:    Yes, sir.

   17              MR. HORR:    Mr. Brais's statement omits what's in the

   18    record factually to demonstrate that at a minimum, there's a

   19    factual dispute to preclude res ipsa application and

   20    Plaintiff's motion for summary judgment.         First, the statement

   21    was made, no repairs were made when the investigation was

   22    undertaken, meaning the day following.

   23              That's not what Rotairo said.       Rotairo said:    I went

   24    in; I pulled down the upper bunk.        I pulled on the upper bunk

   25    and it came down, showing me it was unlocked.          Thereafter, I
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    1    found these loose screws and I replaced them.         And then the bed

    2    worked properly.

    3              It's a big difference.

    4              The testimony of Rotairo was unequivocally that he

    5    replaced screws and then that enabled the bed to start working

    6    the way it was supposed to.       And that is all the passages that

    7    later on Mr. Brais is asking about.

    8              If you look at page -- I know you took notes before,

    9    Judge, and I'm not going to waste the time to dig it up.            It's

   10    like 31 on to 32.

   11              THE COURT:    Right.

   12              MR. HORR:    But Rotairo says unequivocally it was

   13    unlocked.    It came down when I first went there.        The only

   14    difference is, he fixed the screws.

   15              And if you look at the picture, the significance of the

   16    screws is here, Judge, because it pulls -- I've got this thing

   17    here -- because it holds the catch bracket in place.           So

   18    without those screws, the catch bracket moves and the

   19    mechanical engagement doesn't occur.

   20              And that's what happened.

   21              And importantly, another factual distinction:         Emond

   22    explained that, depending on the stage that the mechanical

   23    disengagement was at, because it's a process, somebody could

   24    pull on that thing and it wouldn't come down right then.

   25              So I think, Judge, the principles that Judge Scola
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    1    applied in Cosmo are pertinent here.        There, the Court said an

    2    issue of fact is material if under the applicable substantive

    3    law it might affect the outcome of the case.         An issue of fact

    4    is genuine if the record taken as a whole could lead a rational

    5    trier of fact to find for the nonmoving party.          All the

    6    evidence and fact inferences reasonably drawn from the evidence

    7    must be viewed in the light most favorable to the nonmoving

    8    party.

    9              So translating that against the evidence in this case,

   10    if the fact-finder in this case hears all the evidence, opts to

   11    accept Brian Emond's version of the events, there's -- the

   12    Plaintiff has failed in their proof of a liability case.

   13              The Plaintiff still fails in their proof of a liability

   14    case at summary judgment based on the arguments we've made

   15    there.

   16              THE COURT:    So is your primary effort today designed to

   17    prevent a summary judgment ruling in favor of the Plaintiff or

   18    to actually affirmatively obtain a summary judgment in your

   19    favor?   It sounds to me like your approach today is primarily

   20    defensive.    In other words:     Judge, you can't grant summary

   21    judgment for the Plaintiff for the following reasons, including

   22    the fact that res ipsa is an inference that can be raised at

   23    trial.   It's not appropriate for summary judgment.

   24              So it seems like you're really sort of pounding the

   25    drum of trying to convince me to not grant summary judgment for
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    1    the Plaintiff as opposed to pounding the drum for an

    2    affirmative defense summary judgment ruling in favor of

    3    Carnival.

    4              Is my perception off or is that sort of what's been

    5    happening today during the past five hours?

    6              MR. HORR:    No.   With all due respect, your Honor,

    7    obviously, I got -- I drew the straw of responding to

    8    Plaintiff's motion for summary judgment.         So I'm going to give

    9    that argument everything I've got because that's my job.

   10              But --

   11              THE COURT:    All right.

   12              MR. HORR:    -- from the standpoint of tactics, no.         We

   13    think this is most definitely a case where your Honor ought to

   14    be entering summary judgment in favor of the defense.           The

   15    reason being is, the Plaintiff has chosen to travel with res

   16    ipsa as a basis for their summary judgment.         No factual basis

   17    to support that.

   18              Distinct, however, the Plaintiff has the burden of

   19    proof of its own in terms of establishing negligence.           And the

   20    Eleventh Circuit makes it very clear what the prerequisites for

   21    the Plaintiff to do that are, and the Plaintiff hasn't

   22    established those.

   23              So we're -- you know, maybe I've got a bigger mouth

   24    than Brian, but the reality is, Judge, is we are, you know, as

   25    enthusiastically urging both positions.
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    1               THE COURT:    All right.   So now it's time to shift to

    2    the questions filed under seal by Plaintiff.         And we're going

    3    to get to those now.      That will be -- let me pull this up on

    4    the computer.    Let me see.     This computer has been idle for so

    5    long that I have to restart the query on my docket sheet.           So

    6    bear with me just a minute.

    7               All right.    So these are the Plaintiff's questions,

    8    which we call Docket Entry 83, Plaintiff's questions for the

    9    defense.    And everybody please try to follow my admonition to

   10    stay focused and to be efficient and to cut to the chase,

   11    because it's already now 2:05 and we're now just starting the

   12    six questions, which, as you know, Mr. Parrish, is a little

   13    different than the four questions.

   14               So in any event, I got a few chuckles there.        Maybe

   15    some of you are not familiar with what we call the four Ma

   16    Nishtanas. But in any event, let's get to the six Ma Nishtanas,

   17    which is Docket Entry 83.

   18               And we're going to read the first question.        Here we

   19    go.   Question 1:      Carnival, do you have any evidence to

   20    contradict Runner Tefora's testimony that he did not effect any

   21    repairs to the bunk's lock in Mr. Ewing's stateroom during his

   22    visit right after Mr. Ewing reported the incident, the visit

   23    partially captured on video?

   24               So who's answering for Carnival?

   25               MR. HORR:    You got it, Brian?
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    1              MR. SCARRY:    Could you rephrase -- could you restate

    2    the question, your Honor?

    3              THE COURT:    Sure.

    4              Please explain the impact of Marbury versus Madison and

    5    the Articles of Confederation on this case.

    6              MR. SCARRY:    That's what I thought.

    7              MR. HORR:    Well, that's my question, Judge.

    8              [Laughter.]

    9              THE COURT:    So here is the actual question:       Carnival,

   10    do you have any evidence to contradict Runner Tefora's

   11    testimony that he did not effect any repairs to the bunk's lock

   12    in Mr. Ewing's stateroom during his visit right after Ewing

   13    reported the incident, the visit partially captured on video?

   14              MR. SCARRY:    Yes.

   15              THE COURT:    Would you --

   16              MR. SCARRY:    The question --

   17              THE COURT:    It's one thing to be succinct; it's another

   18    thing to just give me a one-word answer.         So yes.   Please

   19    expand in an efficient way.

   20              MR. SCARRY:    The testimony is clear:      All Mr. Tefora

   21    did was raise the bunk from a horizontal to a vertical

   22    position, turn the latchkey, did not pull on it and left the

   23    cabin.

   24              That is -- that is the entirety of the evidence.

   25              THE COURT:    All right.    Fair enough.
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    1              Plaintiff?

    2              MR. BRAIS:    In response to, Do they have any evidence

    3    to contradict his testimony that he did not effect repairs, the

    4    answer is no.     Mr. Scarry just agreed.

    5              That's all from Plaintiff.

    6              THE COURT:    Great.    We're moving along.

    7              Question No. 2:     Carnival, do you have any evidence to

    8    contradict the testimony of the cabin steward, Rudolph

    9    Williams; the floor supervisor, Geraldine Peredo; and joiner,

   10    Gilbert Rotairo, that before any repairs were made to the lock

   11    of the bunk and even with the, quote, "loose," closed quote,

   12    screw, the bunk's lock was fully functional and lockable during

   13    the post-incident inspection?

   14              So who's handling that for Carnival?

   15              MR. SCARRY:    I will, your Honor.

   16              Brian Scarry.

   17              THE COURT:    Yes, sir.

   18              MR. SCARRY:    Returning to Rotairo's testimony on Page

   19    31, Line 7, the question:        "The first thing:   Did you pull on

   20    the bunk to make -- the bunk above the twin bed?          Did you pull

   21    on it to make sure it was locked?

   22              "Yes.

   23              "Was it locked?

   24              "Answer:   It wasn't locked."

   25              On Page 32, Line 1:      "Okay.   When you pulled down, what
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    1    happened?    Nothing?

    2               "Answer:   Nothing.     Nothing that happened.

    3               "Question:    Were you able to pull it down?

    4               "Yes."

    5               Both of those passages indicate that the mechanical

    6    engagement which can be defeated by the loose screws had

    7    occurred.    Couple that with the previous question.        Mr. Tefora

    8    did nothing to the bed the day before other than raise it and

    9    turn the key.

   10               THE COURT:    Let me just repeat what I thought I heard

   11    you say.    You say that the mechanical engagement had been

   12    engaged but could be defeated by loose screws?

   13               MR. SCARRY:    No.   What I said was the mechanical

   14    engagement necessary to hold the bed in the upright position

   15    when it's pulled.       We know that Rotairo on Page 31 and 32 says,

   16    "The first thing I did was when I pulled on it, it came down."

   17               THE COURT:    Right.

   18               MR. SCARRY:    That means no mechanical engagement.

   19               THE COURT:    Understood.    Got it.   Okay.   Very good.

   20               Plaintiff?

   21               MR. BRAIS:    There's confusion, your Honor, or

   22    misunderstanding.

   23               Page 31 and 32 of Rotairo's deposition that when he

   24    first went in there, he was able to pull down on the lock, does

   25    not address the question.         It doesn't answer the question, "Was
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    1    the lock functional before the screws were tightened?"           That

    2    only answers the question, "Did the runner actually lock it

    3    before he left."

    4              And that's why I've said 16 times today, I don't care

    5    if he locked it or not when he left.        I only care that

    6    everybody agrees he did not effect any repairs.          And they

    7    already agreed to that.

    8              On the issue of whether it was functional with the

    9    loose screws, I read two pages, 42 and 43, 43 specifically,

   10    Line 21, but even with --

   11              THE COURT:    Page 42, 43 of whose deposition?

   12              MR. BRAIS:    Rotairo.

   13              THE COURT:    Yes.

   14              MR. BRAIS:    And this answers the only really material

   15    question:    Was the lock functional with the loose screws?         In

   16    other words, did it lock before any repairs were made?

   17              And 43 at Line 21:     "But even with the loose two screws

   18    a little loose, the lock was still working?

   19              "Yes.   Answer:   Yes."

   20              Before any repairs were made, it was functional,

   21    whether the runner locked it or not the day before.

   22              THE COURT:    Well, it may be that the lock was working.

   23    The question is:     Was the mechanical engagement activated?        Was

   24    it in fact fully functional?

   25              So I've heard plenty of testimony or summaries of
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    1    testimony today between the process of turning the key in the

    2    lock and whether or not the mechanical engagement actually

    3    occurred and I've heard argument that the key could in fact be

    4    turned and that doesn't necessarily tell us whether the

    5    mechanical engagement was operational.

    6               So you're telling me that Mr. Rotairo said the lock was

    7    working.    Does that mean just that the key turned in the lock

    8    or does it mean that the entire mechanism was fully

    9    operational, which, if that's true, it would mean you would not

   10    be able to pull the bed down?       But that's not what the man

   11    said.   The man said that in fact he was able to pull the bed

   12    down.

   13               So I'm a little bit unsure of your attempt to

   14    clarification.

   15               MR. BRAIS:   So when he first went in, if he was able to

   16    pull down or not, he actually goes both ways in his testimony.

   17    Completely irrelevant.

   18               When he manipulates the lock to test the functioning of

   19    the lock, it locks.     And he testified he did it not once, but

   20    actually at least two times while engaging the lock.           It would

   21    not come down.     And that was all done before any repairs were

   22    made.

   23               THE COURT:   So when you say -- when you say to me,

   24    Mr. Brais, that Mr. Rotairo, quote, "went both ways," unquote,

   25    in his testimony, Mr. Scarry pinpointed the testimony where he
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    1    said he was able to pull the bed down.

    2              So where in his testimony did he go the other way?

    3    Because you tell me he went both ways.        I just told you the way

    4    described by Mr. Scarry.      Where in his testimony did he go the

    5    other way?    Which would be testimony that he was not able to

    6    pull the bed down?     What page is that on?

    7              MR. BRAIS:    So I understand your question, your Honor,

    8    not able to pull it down upon first arriving in the -- in

    9    the --

   10              THE COURT:    Listen, I'm simply asking you to point to

   11    me the evidence that you just told me.        You just told me that

   12    Rotairo, quote, "went both ways."        That's a phrase that I wrote

   13    down:    "went both ways."    Okay?   I'm simply parroting back to

   14    you the representation that you made to me.

   15              So when I hear somebody say that Rotairo went both ways

   16    on the issue of whether he could pull down the bed before

   17    repairs, Mr. Scarry pinpointed to me the testimony where he

   18    said he could pull down the bed, meaning the mechanical

   19    engagement hadn't been activated.

   20              Where in his testimony, according to you, did he,

   21    quote, "go the other way"?       And by "the other way," that would

   22    have to mean him saying, I tried to pull the bed down and I

   23    couldn't do it.     Where did he say that?

   24              MR. BRAIS:    So at page -- when he initially went in at

   25    Page 32, at the bottom of that page, Line 24:         "You verified it
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    1    was locked?

    2              "Answer:   Yes."

    3              I don't have the remainder of the references exactly

    4    handy.   But what I'm trying to explain to the Judge, you, your

    5    Honor, is that initially when he walked in, whether he could or

    6    could not pull it down initially is an immaterial issue.

    7              What is material is whether when he manipulated the

    8    lock before effecting any repairs if it was workable and did

    9    lock, and that he did on two separate occasions.

   10              So he could have come in -- and when I said he went

   11    both ways, I said it was extremely difficult for him to

   12    understand the question in English.        And he said at one point,

   13    "I couldn't pull it down."       He said at another point, "I was

   14    able to pull it down."       And this is all framed initially when

   15    he walks into the cabin, which is immaterial.

   16              THE COURT:    All right.    I understand that you say it's

   17    immaterial.    Maybe the other side disagrees.

   18              So where did he say at first I had difficulty pulling

   19    it down or I couldn't pull it down?        I know you think it's not

   20    relevant.    But just humor me.      Maybe I'd like to know the

   21    answer to that question since you told me unequivocally he,

   22    quote, "went both ways," unquote.

   23              So where is the testimony where he went, quote, "the

   24    other way"?

   25              MR. BRAIS:    At Page 31, to illustrate the witness's
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    1    inability to understand, beginning at Page 5 --

    2              MS. GURIAN:      Line 5.

    3              MR. BRAIS:    -- Line 7:    "The first thing, did you pull

    4    on the bunk to make the bunk above the twin beds -- did you

    5    pull on it to make sure it was locked?

    6              "Answer:   Yes.

    7              "Was it locked?

    8              "Answer:   It wasn't locked.     No, no, no."

    9              THE COURT:    Was or was not?

   10              MR. BRAIS:    Was not.     I'll break up the conjunctive:

   11    "Was not locked.     No, no, no.     I checked for the top bunk.

   12    Yes.

   13              "Question:    Yes.

   14              "Answer:   Nothing happened.     No have a problem with the

   15    top bunk.    It's already locked."

   16              It was already locked.      So when I say he went both

   17    ways, you know, we were told we didn't have to bring an

   18    interpreter.

   19              I said:    No.   I think I'm going to bring an

   20    interpreter.    We did the best we could through an interpreter.

   21    There was a lot of back-and-forth on the issue.

   22              You know, were you able to pull it down or not?          I've

   23    cited two locations where he said he couldn't pull it down.            It

   24    was locked.    They've cited the two locations where he was able

   25    to pull it down.
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    1              But I think the more operative or material issue --

    2    because being able to open it or not -- it only reflects not on

    3    whether the lock was functional and lockable, but on whether

    4    the runner the following day actually locked it or not.

    5              That's why I keep focusing on the more material issue,

    6    at least from the Plaintiff's side and I think from the case's

    7    side.   There were no repairs made.       And as soon or even before

    8    any repairs were made, it was functional.

    9              And by the way, they pulled down at that time, and they

   10    couldn't pull it down because it locked.

   11              THE COURT:    Mr. Scarry, any further points from you on

   12    this question?

   13              MR. SCARRY:    About ten lines out from what Mr. Brais

   14    was citing was the question:        "Were you able to pull it down?"

   15              His answer was:     "Yes."

   16              THE COURT:    I understand.

   17              Page 37 -- I'm sorry.      Page 31, Line 7.    Page 32, Line

   18    1.

   19              MR. SCARRY:    32, Lines 1 through 5, your Honor.

   20              THE COURT:    I'm sorry.     Page what?

   21              MR. SCARRY:    Page 32.

   22              THE COURT:    Lines 1 through 5.     Right.

   23              MR. SCARRY:    Yes.

   24              THE COURT:    Okay.   But starting on Line 1.      Understood.

   25    Okay.
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    1              Now we go to Question No. 3.

    2              MR. HORR:    4.

    3              THE COURT:    I'm sorry?

    4              MR. HORR:    4.

    5              THE COURT:    I'm sorry.    I'm not hearing what somebody

    6    is saying here.

    7              MR. HORR:    I may have said 4.     I thought we were on 4.

    8              THE COURT:    No.   I'm pretty sure we just finished

    9    Question No. 2.     Am I wrong?

   10              MR. SCARRY:    No, sir.    3.   You're -- 3.

   11              THE COURT:    All right.    You're probably suffering from

   12    low blood sugar, Mr. Scarry, given that it's 2:20.          Do you have

   13    like a protein bar or something you could nosh on?

   14              MR. SCARRY:    I don't, but Shorty's has takeout these

   15    days.

   16              THE COURT:    Well, they do, except as I found out in an

   17    unfortunate event, they close at 8:00.        And therefore, in order

   18    to get your order by 8:00, you have to phone up by 7:20.           So

   19    when you're on U.S. 1 heading south from the courthouse at

   20    about 7:40 and you're at 27th Avenue and U.S. 1, they don't

   21    place your order.

   22              But I'm glad that you enjoyed your meal.

   23              [Laughter.]

   24              MR. SCARRY:    I did.   On more than -- on more than one

   25    occasion.
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    1              THE COURT:    All right.    Wonderful.    But it looks like

    2    no leftovers.

    3              MR. SCARRY:    Never.

    4              THE COURT:    Question 3:    Carnival, isn't it immaterial

    5    whether there was or was not a loose screw to the bunk's lock

    6    given that Runner Tefora's testimony is that he effected no

    7    repairs to the lock and per the testimony of the cabin steward,

    8    Rudolph Williams; the floor supervisor, Geraldine Peredo; and

    9    the joiner, Gilbert Rotairo, the bunk's lock was fully

   10    functional and lockable before the loose screw was tightened

   11    during the post-incident inspection?

   12              Would you like me to read that again?        I can't hear

   13    you.

   14              MR. HORR:    Judge, I -- I think the answer is pretty

   15    much the same as what we just got through talking about.           It's

   16    the same question.      It's -- doesn't it really encompass the

   17    same exact evidence discussion that you just finished with on

   18    No. 2?

   19              THE COURT:    Listen, I'm simply reading the questions

   20    out loud because this is what --

   21              MR. HORR:    I got it.

   22              THE COURT:    If you have a further response, fine.        If

   23    you simply say "What I said before" or "What Mr. Scarry said

   24    before in Question 2," I'm good with that.

   25              MR. HORR:    You know what?    You just made a good
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    1    observation, Judge.

    2              Brian -- Mr. Scarry handled it the last time.         I'll let

    3    him handle it this time.      If he thinks anything more needs to

    4    be said, he can do it.

    5              MR. SCARRY:    Read the question back one more time,

    6    please, your Honor.

    7              THE COURT:    Isn't it immaterial whether there was or

    8    was not a loose screw to the bunk's lock, given the fact that

    9    Tefora testified that he made no repairs to the lock and the

   10    testimony of Steward Williams and Supervisor Peredo and Joiner

   11    Rotairo was that the bunk's lock was fully functional and

   12    lockable before the loose screw was tightened during the

   13    post-incident inspection?

   14              MR. SCARRY:    I would offer two points.

   15              Number one, the term "lock is functional" is not

   16    synonymous with the active mechanical engagement.

   17              Number two, I would direct the Court's attention again

   18    to the testimony from both experts, who both testified that a

   19    combination of loose and/or removed screws does defeat the

   20    mechanical engagement necessary to hold the bed upright.

   21              THE COURT:    Thank you.

   22              Bear with me just a minute, please.

   23              All right, Plaintiff.      Who's going to handle that?

   24              (Telephone ringing.)

   25              MS. GURIAN:    It's somewhere else.     It's not here.
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    1               THE COURT:    I'm sorry, folks.    That is my phone

    2    ringing.    I'm not going to answer it.      I wouldn't have answered

    3    it anyway, because I'm one of these old guys who still has a

    4    landline phone, believe it or not.        I don't really know why.

    5    But when I get a landline phone and the caller ID says "out of

    6    area," I never answer it.

    7               MS. GURIAN:   Go ahead.

    8               THE COURT:    Go ahead.

    9               MR. BRAIS:    Do you want Plaintiff's response, Judge?

   10               THE COURT:    Only if you'd like to give one.

   11               MR. BRAIS:    Okay.   Very simply, Judge, the alleged

   12    loose screw is immaterial because there's no repairs on the day

   13    of.   And the day following, before any repairs were made, it

   14    was fully functional.      By that, I mean, rather than have the

   15    hair split, by that I mean it was tested, turned, functional

   16    and it locked and wouldn't come down.

   17               And --

   18               THE COURT:    Wait a minute.   Wait a minute.

   19               Who said before this repair was made, before the

   20    screwdriver was pulled out on the day after, who said that the

   21    bed was pulled down and that the mechanical engagement worked

   22    and the bed would not pull down?       I don't remember anybody

   23    saying that.

   24               MR. BRAIS:    Well, I read to you -- I'll have to find

   25    the additional citations.        But I read to you at Joiner
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    1    Rotairo's depo at Page 42 and 43, where he says, Yes.           Before I

    2    effected any repairs, it was -- was -- I'll read it:           "Those

    3    two loose screws, the lock was still working?

    4              "Yes."

    5              It's at a later location, which I don't know that I'll

    6    find right away.     Maybe Ms. Gurian can help me.       It's at a

    7    later location where he says, "By that, I mean, yes, I tested

    8    it twice.    And it -- once we locked it, it would not come

    9    down."

   10              In other words, it was engaging, as counsel would like

   11    to say.    We'll have to look that up for you, Judge.        But it's

   12    in there.    It's in there.

   13              THE COURT:    Well, this could be a pretty important

   14    point, because there's a distinction between turning the key

   15    and the mechanical engagement.

   16              And what happened in your case in the depositions is

   17    that -- I'm not really blaming anybody, but this is just how it

   18    unfolded.    The questions were somewhat less than precise; and

   19    maybe at that point during the depositions you didn't realize

   20    the distinction between turning the key in the lock and whether

   21    or not that would activate the mechanical engagement.           And as a

   22    result of that or perhaps as a result of that, the questions

   23    were often phrased like:      Well, did you lock it?      Did it lock?

   24    Did you turn the key?      Did the key turn the lock?

   25              And the witness may say yes.       But unless the witness
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    1    then pulled down on the bed to test whether the mechanical

    2    engagement had in fact been operating, the mere fact that

    3    someone says, Yeah, I turned the key or, Yes, it locked doesn't

    4    necessarily lead to the conclusion that the bed would not come

    5    down because the mechanical engagement prevented it.

    6              So when you quote for me Pages 42 and 43 that the lock

    7    was still working, okay.        Maybe it was.   Maybe the key had been

    8    turned in the lock and he was able to do that.

    9              But unless at that point he pulled down on the bed,

   10    that testimony on 42 and 43 doesn't tell me one way or another

   11    whether the mechanical engagement was activated.          So help me

   12    understand that point.

   13              MR. BRAIS:    I think I -- could you give me just a few

   14    seconds, please?

   15              THE COURT:    Sure.    Take your time.

   16              MR. BRAIS:    (Confers with Ms. Gurian privately.)

   17              Judge, I think it is a very material issue to address

   18    the issue of whether it's fully functional, lockable, and --

   19    versus was it engaged and would be pulled town?          I couldn't get

   20    my hands on it right now.       I could do a notice of filing before

   21    the end of the day and find you the exact chapter and verse.

   22    But that's all I can do.

   23              Now, I don't want to hold everybody up for that issue.

   24    I know it's there.     I'll find it.     I can't find it right this

   25    second.
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    1              THE COURT:    All right.    So, listen, first of all, I'll

    2    give you that opportunity.       You don't need to go crazy and

    3    place yourself under undue pressure and undue stress.           Being a

    4    lawyer, being a trial lawyer is difficult enough as it is

    5    without unnecessary deadlines.

    6              So I'll give you until -- let's see.        Today is the

    7    28th, which is Tuesday.      How about if I give you until the end

    8    of business on Thursday to do a notice of filing?          If you need

    9    more time, just let me know that you need more time.

   10              But just so we're clear, the number -- I mean, the

   11    nature of the notice of filing is you're going to find for me a

   12    spot in Mr. Rotairo's deposition where he said he tried to pull

   13    down on the bed and then whatever he said happened when he did

   14    that, as opposed to testimony about the lock or the key.           Is

   15    that your understanding of what you'd like to submit?

   16              MR. BRAIS:    Close, Judge.    I understood you to say you

   17    need the testimony that he not only confirmed it was lockable,

   18    but that once he locked it, it would not come down.          And this

   19    is obviously before he tightened the screws.

   20              THE COURT:    Right.

   21              MR. BRAIS:    That issue comes up -- by the way, Judge,

   22    there's a second person who's at -- well, actually, there was

   23    three.   But Maria Peredo also says it was functional and it

   24    didn't come down when they pulled down.         So I might -- if it's

   25    okay, I'll give you both.        I just need -- I just don't have
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    1    them at my fingertips.

    2               THE COURT:    All right.    Listen, listen, let me phrase

    3    it this way:    You may submit a supplemental notice of filing by

    4    April 28th of the testimony of any witness who said before --

    5    who said, before the repairs were made with the screwdriver,

    6    that he or she tried to pull down on the bed and found out that

    7    it was locked.      In other words, the bed would not pull down.

    8    It remained in position.

    9               So whether or not that's from Mr. Rotairo, from a

   10    housekeeper, from another witness, whoever it is, we're talking

   11    about pre-repair testimony where somebody did more than just

   12    turn the key, check the lock.         Somebody actually pulled down on

   13    the bed in order to see whether it came down or not.           Okay?   So

   14    whether it's one piece of testimony, two, five or 20, that's

   15    the zone of your supplemental filing.        Okay?

   16               MR. BRAIS:    And you meant to say Thursday the 30th?

   17               THE COURT:    What did I say?

   18               MS. GURIAN:   The 28th.

   19               MR. BRAIS:    The 28th.

   20               THE COURT:    Well, today's the 28th.     Thank you for

   21    clarifying.    Right.

   22               You know what?   I'll actually give you until Friday,

   23    May 1st.    Okay?   Because maybe you want to scour through a few

   24    people's depositions, not just this one fellow.          So I'll give

   25    you until Friday, May 1st, to get that done.
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    1              MR. BRAIS:    Thank you, Judge.

    2              THE COURT:    Now, if on the other hand Carnival thinks

    3    that these -- oh, and by the way, in addition to listing for me

    4    the lines and pages, naturally you'll attach the actual pages.

    5    I know they're probably in the record someplace else as Exhibit

    6    No. 4 to the statement of facts or some other place.           But in

    7    order to make my life easy, just lay it out on a silver platter

    8    for me and attach just those relevant excerpts from those

    9    specific pages to your notice.

   10              MR. BRAIS:    Thank you, Judge.

   11              THE COURT:    And, Carnival, if you take the position

   12    that those supplemental references are taken out of context or

   13    that they're incomplete or that there's testimony to the

   14    contrary, you can file sort of a response; and I'll give you

   15    until Thursday, which would be May 7th, to get that done.

   16    Okay?

   17              MR. SCARRY:    Thank you, Judge.

   18              MR. HORR:    Thank you, Judge.

   19              THE COURT:    All right.    Now, on this particular

   20    question -- and we are just doing Question No. 3.          We heard

   21    from the defense.      We heard from the Plaintiff.      Okay.   So now

   22    we're moving on to Question No. 4.

   23              Question 4:    Carnival, assuming you recognize that an

   24    employer can be held vicariously liable for the negligent acts

   25    of an employee acting within the course and scope of his
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    1    employment, is it your contention that vicarious liability

    2    requires notice?

    3              MR. HORR:    Brian?

    4              MR. SCARRY:    Yes.

    5              THE COURT:    I think you already --

    6              MR. SCARRY:    Correct.    Correct.

    7              THE COURT:    So, first, Mr. Scarry, just tell me, I know

    8    it's virtually impossible for lawyers to do this.          It's sort of

    9    in your genes, so you've been trained this way.          But if you can

   10    possibly give me a direct, one-word answer to this yes-or-no

   11    question, I for one would be a happy guy.         Then you can explain

   12    all you want.    Are you able to give me a yes-or-no answer to

   13    this question?

   14              MR. SCARRY:    Yes.   Yes.

   15              THE COURT:    And what is the answer?

   16              MR. SCARRY:    The answer is yes.

   17              THE COURT:    Okay.   Fine.   Please explain.

   18              MR. SCARRY:    The law requires for there to be liability

   19    that there be actual or constructive notice of the act which

   20    creates the risk-creating condition.

   21              We discussed Pizzino.      And I think that summarizes

   22    where the Eleventh Circuit summarily said, Just because a bar

   23    waiter spills some water on the floor, there has to be notice

   24    of that and an opportunity to correct it.         Absent that, there

   25    would be the notion of insurer.
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    1              THE COURT:    All right.    So I hear what you're saying.

    2    And thank you so much for that direct answer of yes.

    3              However, let me throw back to you an example that

    4    Mr. Parish brought up, oh, I don't know, three or four hours

    5    ago.   But Mr. Parrish brought up Franza.        Franza was a case

    6    that sort of redefined some of the basic principles of

    7    negligence in a maritime setting here in the Eleventh Circuit.

    8              And Franza had to do, if my memory serves me correctly,

    9    with a medical malpractice case.

   10              Am I right, Mr. Parrish?      Medical malpractice?

   11              MR. PARRISH:    Correct.

   12              THE COURT:    So if you're a plaintiff's lawyer from

   13    Mississippi, you call it medical malpractice by an insurer.

   14    Right?

   15              MR. PARRISH:    Right.

   16              THE COURT:    Okay.   So, Mr. Scarry, what that means is,

   17    let's say a passenger is aboard a Carnival cruise line.           They

   18    have some symptoms.      They go to the on-board medical clinic.

   19    The doctor commits a horrible act of medical negligence.           Let's

   20    say they fail to diagnose an easily detectable acute stomach

   21    distress.    The person actually is having an appendix attack.

   22    They have a case of appendicitis.        The appendix bursts and the

   23    patient dies aboard the ship of a sepsis infection.

   24              So the vicarious liability would be that Carnival is

   25    vicariously liable for the malpractice of physician Dr. A.
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     1               So under your view, notice would be required and

     2    Carnival would have to be on notice either that this particular

     3    doctor, let's say Dr. Smith, Carnival would have to be on

     4    notice that Dr. Smith has a history and they're on notice of

     5    misdiagnosing symptoms of an appendicitis or that, generally,

     6    Dr. A lacks proper medical training, isn't sufficiently trained

     7    to the standard of care applicable to a cruise ship, but in any

     8    event your theory would be that there would have to be notice.

     9               Is that in fact your position?

    10               MR. SCARRY:    It is.   And it's supported by Pizzino.

    11               THE COURT:    Well, that would mean Franza is incorrectly

    12    decided.    Right?

    13               MR. SCARRY:    That would mean that Franza was decided on

    14    its facts.    And Pizzino being decided on its facts, I believe,

    15    controls the facts that we have before us here.

    16               THE COURT:    Plaintiff, anything from you on this

    17    question.

    18               MR. PARRISH:   Yes, your Honor.    I will handle the

    19    response to that.

    20               THE COURT:    I'm sorry.   By "I" --

    21               MR. PARRISH:   Philip Parrish.

    22               THE COURT:    I know you're a little bit of an egomaniac,

    23    Mr. Parrish. Not every court reporter recognizes your voice.

    24               MR. PARRISH:   Excuse me.    I've spoken so little that I

    25    forgot the rules.
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     1             But yeah.    So Pizzino, again, did not ever address a

     2    theory that was pled or argued as vicarious liability.          Had it

     3    done so, had the Plaintiffs there done so, then we would have

     4    seen them citing to Franza and Langfitt and the century of

     5    vicarious liability case law laid out by the Eleventh Circuit

     6    in Franza at Pages 1233 at 1235, including another case that I

     7    provided to you, Langfitt versus Federal Marine Terminals.

     8             And I'll quote from that:       "An otherwise nonfaulty,"

     9    meaning nonnegligent, "employer is vicariously liable for the

    10    negligent acts of its employee acting within the scope of

    11    employment."

    12             Now, Pizzino -- which, by the way, was decided by the

    13    same trial judge that decided Richard.        And so Judge Moreno in

    14    Richard when he saw a case of active negligence for which the

    15    cruise line was attempting to be held vicariously liable said:

    16    I don't think Pizzino applies here.       Pizzino also is an

    17    unpublished opinion, whereas Franza and Langfitt are published

    18    opinions.

    19             Now, in Franza, I mean, the Court was clear that there

    20    was over a century of maritime line that says that you can hold

    21    them liable even when they are not at fault, meaning cruise

    22    lines or vessel owners.

    23             They went on to cite the [indiscernible] Second of

    24    Agency, Section 219, comment A:       "From the acknowledgement of a

    25    principal's right of control, the idea of responsibility for
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     1    the harm done by the servant's activities follows naturally."

     2              They also cited to a US Supreme Court case which we

     3    also cited in our -- I'm trying to find that now -- in our

     4    notice of supplemental authority, New Orleans versus Handing,

     5    1872, from the US Supreme Court:       "The principal is liable for

     6    the acts and negligence of the agent in the course of his

     7    employment although he did not authorize or did not know of the

     8    acts complained of."

     9              Again, courts do not address issues which are not

    10    raised.   And in the Pizzino case, you cannot find the words

    11    "vicarious"; you cannot find the words "active negligence."

    12              Now, the facts in this case could have been, I suppose,

    13    analyzed under two different ways.       One:   Hey, it's just some

    14    water on the floor.     We don't care how it got there.       How long

    15    was it there?    Did they have notice of it?

    16              That's how the Court analyzed it.       That's how the

    17    parties presented it to the Court.       Had it been properly pled

    18    as a vicarious liability case, and it said that by dropping

    19    that water, this person was actively negligent, then it would

    20    not matter.

    21              And quite frankly, I think that's what all of the

    22    creation of negligence cases were getting at.         But none of them

    23    were analyzed under a Section 219 restatement of torts, which

    24    has been adopted by the US Supreme Court, by every -- every

    25    circuit court.    In fact, in Franza, he went on to cite all ten
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     1    of the other circuits have acknowledged this principle in the

     2    maritime context.

     3             If it's pled and proven as a case of vicarious

     4    liability, you do not have to establish negligence.          That was

     5    not what Pizzino was pled at.       And understand, Pizzino relies

     6    on Everett.

     7             Well, Mr. Scarry said it a little while ago, that

     8    Everett was a case involving a threshold that was built into

     9    the ship, certainly nothing that happened due to an employee's

    10    active negligence or even due to faulty maintenance.          In fact,

    11    the Court never pointed out that the threshold was required by

    12    the SOLAS requirements, the Safety of Life At Sea requirements.

    13             So the beginning of Everett and Pizzino is, we're

    14    dealing with a physical condition in the vessel.         That's why I

    15    also cited to this Court Doe versus Celebrity, which looked

    16    into that issue and did make a distinction between vicarious

    17    and premises liability-type cases.       It cited the Curmer Act and

    18    said Kirkage was a physical condition case and so were Keefe

    19    and Everett.

    20             Now, in Doe, they weren't addressing vicarious

    21    liability for negligent acts.       They were addressing vicarious

    22    liability for a sexual assault, and therefore they adopted

    23    strict liability there.      But they made that distinction, which

    24    is important.

    25             Here, we're not dealing with a transitory substance on
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     1    the floor.    We're not dealing with a carpet that came undone.

     2    We are dealing with a physical thing.        The bunkbed's a physical

     3    thing; no question about that.

     4               But one of our theories and our primary theory here is

     5    that the cabin steward was actively negligent in not carrying

     6    out the policies, the policies which, by the way, under Carroll

     7    reflect that they were -- they're aware of this and therefore

     8    they're on notice.     The cabin steward negligently failed to do

     9    his job.    That directly caused an injury to the Plaintiff; and

    10    therefore, we are suing the cruise line for the negligence in

    11    the cabin steward.

    12               And Pizzino, I challenge Mr. Scarry, not in a, you

    13    know, Pistols at Dawn sort of way, but in a, you know, find in

    14    the case -- in Pizzino where anybody argued Section 219 of the

    15    restatement where anybody argued -- used the word "vicarious

    16    liability" where they addressed or tried to distinguish Franza

    17    or the litany of cases, Langfitt, any of the other cases that

    18    say that notice is not a prerequisite when your employee -- say

    19    your employee is driving a car and they injure someone.           As

    20    long as they're in the course and scope of their employment,

    21    you're not supposed to know they're going to injure anybody in

    22    order to be held liable.      You're just automatically liable if

    23    they were negligent.

    24               And I probably have rattled along a little bit too

    25    long, but Pizzino cannot be read to extend to Section 219 and
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     1    to a claim of vicarious liability.

     2             THE COURT:    Mr. Scarry, any response from you?        Your

     3    microphone is off, sir.

     4             MR. SCARRY:    Sorry about that, your Honor.

     5             No.    I would again point to Pizzino and Mr. Parrish's

     6    reference to sexual assault cases.       The substantive law in sex

     7    assaults is very different.      It does not -- it's a strict

     8    liability standard.     So that's not applicable.

     9             And I would certainly just reiterate that the Pizzino

    10    court set forth a standard of care which is directly applicable

    11    to the circumstances we're dealing with here.         Not a crew

    12    member running somebody over in a car on shore, but an act

    13    of -- a housekeeping act, which is on all fours with the

    14    housekeeping act being performed by the steward in Pizzino.

    15             Thank you.

    16             THE COURT:    All right.    Question No. 5:     Carnival, are

    17    you arguing under Pizzino that even if the cabin steward

    18    knowingly created the condition complained of, an unlocked

    19    bunk, by failing to initially lock on embarkation day and

    20    thereafter failing to verify each morning the bunk was locked

    21    by pulling down on it, that Plaintiff is still obliged to prove

    22    notice on Carnival's part?

    23             I think this may be sort of a restating of other

    24    questions.     I have a feeling I know what the answer is.        But,

    25    Mr. Scarry, are you prepared to --
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     1             MR. HORR:    Judge, can I answer this one, Judge?

     2             THE COURT:    Sure.

     3             MR. HORR:    I don't want to -- I don't want to

     4    contradict, rehash, go over what Brian or Phil have talked

     5    about.   But there's no evidence in this record that

     6    Mr. Williams -- that contradicts Mr. Williams's testimony that

     7    he checked the bunk and he pulled down on it the morning of the

     8    accident and every morning before that.

     9             The only thing that the Plaintiff has is arguments

    10    about how the Court should weigh the evidence of how the

    11    Plaintiff screws other stuff.       That's all jury argument.      It

    12    has no place here at summary judgment.        So I think this

    13    question the way it's framed really isn't pertinent to anything

    14    that's at play here in summary judgment.

    15             THE COURT:    So I appreciate that additional answer.

    16             This question I just read, No. 5, is one of these

    17    magical questions.     And by that, I mean it's a question that by

    18    virtue of the way it's phrased should be capable of an answer

    19    "yes" or "no."    So you didn't give me one of those answers.

    20             MR. HORR:    No.

    21             THE COURT:    You just --

    22             MR. HORR:    No.   Because I think Mr. Scarry just did

    23    before, your Honor.     I think Question 4 and 5 are basically the

    24    same question.

    25             THE COURT:    So it seems to me that your answer to
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     1    Question 5 is "yes."

     2              MR. HORR:    Same as Mr. Scarry answered before.

     3              THE COURT:   Right.

     4              MR. HORR:    Correct.

     5              THE COURT:   The Plaintiff is still obliged to prove

     6    notice?

     7              MR. HORR:    Yes, sir.

     8              THE COURT:   Okay.    Now, Mr. --

     9              MR. HORR:    With the -- with the add-on, of course, that

    10    at the stage we're at here, you know, it would require your

    11    Honor to determine that -- accept Plaintiff's argument:

    12    Williams is lying.     Therefore, you can't believe what he says.

    13              That's for a jury; that's not for this stage.

    14              THE COURT:   Mr. Parrish, do you have anything further

    15    to add to Question 5 that you haven't already told me in

    16    response to Question 4?

    17              MR. PARRISH:    Just that I agree with Mr. Horr that a

    18    jury should be permitted to determine the credibility because

    19    you should deny the summary judgment.

    20              MR. HORR:    Of the Plaintiff.

    21              MR. BRAIS:   [Indiscernible] before.

    22              THE COURT:   All right.    And now -- I know I sound a

    23    little bit like Ed McMahon with the final envelope from Carnac.

    24    The envelopes were kept in a sealed jar on Funk & Wagnalls'

    25    porch, for those of you old enough to remember that show.           I
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     1    have here the final question.       Okay.   Here we go.

     2             Question 6:    Carnival, do you agree at least in part

     3    that Carnival's multiple safety procedures, that is, ensuring

     4    staterooms are configured and bunks are locked on embarkation

     5    day, requiring cabin stewards to check that all bunks are

     6    locked each morning of the cruise, requires all mechanical

     7    failures of the bunks to be logged, immediately reported and

     8    remedied, exist as safety precautions against the possibility

     9    that a bunk either unlocked or in disrepair could deploy and

    10    represent a safety hazard to the occupant of a stateroom?

    11             Would you like me to read it again?

    12             MR. SCARRY:    Yes, please.

    13             THE COURT:    Carnival, do you agree at least in part

    14    that your multiple safety procedures ensuring staterooms are

    15    configured, bunks are locked, stewards have to check all the

    16    bunks and lock them each morning, requiring the logging of

    17    mechanical failures, immediately reporting and remedying

    18    problems, all those steps exist as safety precautions against

    19    the possibility that a bunk in either an unlocked or in

    20    disrepair could deploy and represent a safety hazard to the

    21    stateroom occupant?

    22             MR. SCARRY:    Your Honor, I would respond to that

    23    question by saying that ship-wide, all the housekeeping

    24    procedures are each and of themselves designed to maintain a

    25    reasonably safe premises, which is the vessel.         And they're not
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     1    exclusive to a bunkbed.      They're not exclusive to a marble

     2    floor.   They're not exclusive to a staircase nosing.         They

     3    represent an overall -- an overall business management practice

     4    which serves to maintain the vessel not to perfection, because

     5    that's not the standard, but a standard of reasonable care

     6    under the circumstances.

     7               THE COURT:    So if I am a victim of OCD, maybe also

     8    being anal retentive, and if I wanted to keep a chart of every

     9    single question, I have a column and I want to check it off

    10    with a Y or an N, "yes" or "no," what Carnival's position was

    11    on each of the yes-or-no questions, for Question No. 6, would I

    12    be writing down a Y or an N?

    13               MR. SCARRY:    You would be writing down a Y with the

    14    caveat that each procedure -- and there are thousands of them

    15    aboard these ships -- each go to a specific purpose:          Maintain

    16    the cabin and its components.       Maintain the plumbing and its

    17    components.    Maintain the public areas and its components to a

    18    state of reasonable care, not perfection, which is not the

    19    standard.

    20               THE COURT:    Who's going to respond if you want to for

    21    the Plaintiff on this question?

    22               MR. PARRISH:   Your Honor, this is Philip Parrish.        I'll

    23    respond.

    24               So this gets straight to the Carroll opinion, which

    25    again is a published opinion from the Eleventh Circuit less
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     1    than two weeks ago, where the Court held that evidence that

     2    shipowners [indiscernible] taking corrective action can take

     3    notice of a dangerous or defective condition.

     4             Now, I'm going to read some more from that case.          But

     5    again, we're talking about the issue of notice.         And earlier

     6    today, I think Mr. Scarry stated, as defense counsel always

     7    does, cruise lines are not insurers of the safety.          Therefore,

     8    you've got to establish -- establishing notice is just one

     9    element of the case.     If we get past the notice, we still have

    10    to prove that they were negligent.

    11             But the issue is:     Is the adoption of these very

    12    specific corrective actions dealing with a bunkbed and

    13    acknowledgement by or at least a constructive acknowledgement

    14    by the cruise line that these things are dangerous if they are

    15    not properly maintained?

    16             And it's not like, Oh, well, you have to go through

    17    there quarterly.    You know, each cabin steward has to do this

    18    on a daily basis.

    19             Now, in Carroll, it was the issue of whether lounge

    20    chairs should be set up -- set out in an upright versus prone

    21    position, because when they're in a prone position in that part

    22    of the ship they would impinge on a walkway.         And they said

    23    that -- Ms. Carroll presented evidence, including the testimony

    24    of one of Carnival's employees, that if the lounge chairs were

    25    arranged in the lay-flat position rather than upright, they
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     1    would protrude, making the hall even narrower.         As a result,

     2    Carnival required them to be set out in the upright position

     3    and employees regularly patrolled the area to fix the chairs.

     4             So here, knowing that these things are a danger,

     5    Carnival requires its cabin stewards to check them on a daily

     6    basis, check them at least at the beginning of the -- as -- of

     7    the cruise and on a daily basis.       At least that's my

     8    recollection.    [Indiscernible] facts of the case as Mr. Brais.

     9             So those are acknowledgement by Carnival -- and again,

    10    it just goes to the issue of notice.        It doesn't mean they're

    11    negligent necessarily -- [indiscernible] that they are -- you

    12    know, that they're on notice of the danger of this bunk falling

    13    if it's not properly checked.

    14             And if we have evidence that this wasn't properly

    15    checked, I believe we should be able to go to a jury on the

    16    theory of liability.

    17             THE COURT:    And what is the evidence that the bunkbed

    18    was not properly checked?

    19             MR. PARRISH:     I'm going to turn to Mr. Brais on this.

    20    I think among other things it's that the -- that it fell.           But

    21    I don't want to get into matters -- I will admit to the Court,

    22    I've not read a single deposition in this case.         I came on new,

    23    and I'm here primarily to talk about the law.         And Mr. Brais is

    24    going to talk about the facts.       So I would ask that he respond

    25    to that question.
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     1             MR. BRAIS:    Keith Brais, your Honor.

     2             So the evidence that it wasn't locked is it fell down.

     3    The evidence it wasn't locked is the bunk on the opposite side,

     4    a bunk that he was also responsible for, was on video evidence

     5    rather convincingly proven to be unlocked.

     6             The evidence that after no repairs were effected on

     7    that day, the following day, the joiner testified that, "Before

     8    I effected any repairs, I got this lock to work properly,"

     9    which means at the time of the incident the lock could not have

    10    been locked, for starters.

    11             THE COURT:    Meaning the mechanism itself as opposed to

    12    the lock or the screw or the turn?       You're talking about the

    13    mechanism could not have been working?

    14             MR. BRAIS:    No.   I mean the mechanism itself was fully

    15    functional and workable, had it simply been turned to the

    16    locked position.

    17             The argument Plaintiff is advancing is that it could

    18    not have been locked notwithstanding the cabin steward's

    19    testimony to the contrary, because, A, it fell down; B, the

    20    notion that a loose screw made it -- turned it into a

    21    nonfunctional lock is disproven by the fact that when the joint

    22    inspection took place, it was a functioning lock.

    23             So the hypotheticals that both experts sort of put

    24    forth don't really apply.      There is no screw that came loose to

    25    the point that it became a -- that it suddenly went from being
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     1    locked to unlocked.     It's that those don't exist.

     2               THE COURT:   Well, if it was a fully functioning lock,

     3    then it would have been impossible to pull the bed down.

     4    Correct?

     5               MR. BRAIS:   If it was pushed into the wall all the way

     6    and if it was turned and the tab was locked, yes, sir.

     7               THE COURT:   All right.   I think I understand all your

     8    positions.

     9               So when we first started this hearing at about 9:30,

    10    which is five and a half hours ago, I told you that I would

    11    give all of you full and ample opportunity to make any

    12    additional arguments that might still exist after we went

    13    through all of the 12 questions.

    14               But I predicted that most likely we would have a very

    15    comprehensive discussion and there's a pretty good chance that

    16    there would be nothing left for you to tell me that we haven't

    17    already spoken about.     Let's see if my prediction is correct.

    18               Plaintiff, do you have anything further on these two

    19    summary judgment motions that you'd like to bring to my

    20    attention that we haven't already discussed?

    21               MR. BRAIS:   That we have not already discussed, no,

    22    sir.

    23               THE COURT:   Defense, do you have any arguments that

    24    you'd like to bring to my attention concerning these two

    25    summary judgment motions that we have not already discussed?
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     1             MR. HORR:    You called it, Judge.      No, sir.

     2             THE COURT:    Bear with me just one minute.

     3             (The Court confers off the record with unidentified

     4    individual.)

     5             THE COURT:    I'm basically monopolizing the bedroom

     6    office and I relegated her to the kitchen for the

     7    [indiscernible] of the day, and I feel somewhat guilty about

     8    that.

     9             But in any event, so we have no further questions.           So,

    10    folks, here's how we're going to wrap up the hearing:          First of

    11    all, as you know, there's sort of an optional homework

    12    assignment.    If Mr. Brais wants to file that list of deposition

    13    references, he can do so by the deadline that I told him.

    14             And, Carnival, you can file a response within your

    15    deadline if you so choose.      So that's assignment number one.

    16             By the way, as usual, we'll be issuing a post-hearing

    17    administrative order, a written order summarizing the

    18    assignments and so forth so that although you all are taking

    19    good notes, there'll be an official written order in the record

    20    that you can refer to in case your notes are a little bit

    21    sloppy or ineligible or perhaps you're losing focus after five

    22    and a half hours.     Who knows?

    23             The second thing is, I would like the parties to

    24    discuss in a memorandum of law the Carroll case.

    25             Now, I know that Mr. Parrish submitted it in his
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     1    supplemental authority.      But consistent with the restrictions

     2    on notices of supplemental authority, where you don't use it as

     3    a springboard to submit another brief or a memorandum of law,

     4    Mr. Parrish merely cited that case with a one-sentence, neutral

     5    summary of the relevant holding.       But that's not what I call a

     6    memorandum of law.      And that's how you're normally supposed to

     7    handle a supplemental authority.       But this is a brand-new case

     8    within the past two weeks in a published opinion from the

     9    Eleventh Circuit.

    10               So first I'll tell you what issue I'd like you to

    11    discuss and then we'll figure out by consensus how long you

    12    think this brief should be and when you think it makes sense to

    13    file it.

    14               The issue is --

    15               Katie, are you still there taking notes?

    16               THE LAW CLERK:    Yes, Judge.   I'm here.

    17               THE COURT:   Okay.   There you go.    Actually, you didn't

    18    need to turn on your video.      You could have just answered

    19    audibly.    But it's always good to see your smiling face.         So

    20    here we go.

    21               Here's the issue:    What impact, if any -- so I guess

    22    it'll be:    What impact, if any, does Carroll have on the issue

    23    of whether notice (actual or constructive) is required for a

    24    vicarious liability theory or an active negligence theory?

    25               So let's figure out how long you think this memorandum
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     1    should be.    So, Mr. Parrish, since you're the one who cited

     2    Carroll in the first place in your supplemental authority, I'm

     3    guessing -- I don't know for sure.       If I'm wrong, you'll tell

     4    me.   But I'm guessing that you're the lawyer who will be

     5    primarily drafting this memorandum.         Am I right?

     6             MR. PARRISH:     Yes.   Correct.

     7             THE COURT:    All right.    So tell me what you think would

     8    make sense for you.

     9             MR. PARRISH:     I mean, certainly no more than ten.       I'll

    10    keep it as short as I can.       I can't imagine it's going to

    11    require more than ten pages.

    12             THE COURT:    All right.    Well, listen, do you think you

    13    can get it done in seven double-spaced pages?

    14             MR. PARRISH:     Yes.   I think.

    15             THE COURT:    So who for the defense is going to be the

    16    primary drafter?     Any idea who that's going to be?

    17             MR. HORR:    Well, if today is any indicator, your Honor,

    18    I think we should work with Mr. Harris.

    19             THE COURT:    Well, listen, you know what?       I don't even

    20    need to do who amongst you will be the primary drafter.           Maybe

    21    it'll be by committee.     Who knows?    But regardless of who's

    22    drafting it, one person, two persons or more, do you think you

    23    can get it done in seven double-spaced pages, excluding the

    24    signature block and certificate of service?

    25             MR. HORR:    I think so, Judge.
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     1               THE COURT:   Good.    So that's seven pages.

     2               When do you think you'll be able to get it done?        And

     3    again, I appreciate, Mr. Brais, your earlier energetic and

     4    optimistic response where you were going to file something

     5    within the next hour or two.       And so I am amazed by everybody's

     6    willingness to put their nose to the grindstone and burn the

     7    midnight oil and get it done.       But I don't consider this to be

     8    an emergency.    So life's tough enough, especially in the midst

     9    of a pandemic and all of the logistical difficulties that that

    10    generates.    So don't kill yourself.     Don't run yourself ragged

    11    in order to get this done.       Just let's come up with a time

    12    frame that works.

    13               So, Mr. Parrish, do you think you'd be able to get this

    14    done in, let's say, half an hour?

    15               MR. PARRISH:   Probably not.    But --

    16               THE COURT:   No.   So just give me a feel for what works

    17    for you.

    18               MR. PARRISH:   Well, so, I could -- I can get it done by

    19    the end of the week, if you needed it by then.         But since

    20    you're saying it's not -- I would ask for ten days, just to

    21    make it, you know --

    22               THE COURT:   Right.   Right.   Normally, you're a very

    23    busy lawyer.    You're doing oral arguments in the Third and the

    24    Fourth and the Florida Supreme Court and the Eleventh.          And

    25    normally, I get a lot of "Here's how busy I am" and "Here's all
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     1    my scheduling conflicts."       So I'm assuming even in the midst of

     2    the pandemic, you're still a busy lawyer.

     3             MR. PARRISH:     Yeah.   I had an oral argument with the

     4    Eleventh last Friday via phone.

     5             THE COURT:    What was that like?

     6             MR. PARRISH:     Oh, it wasn't too bad, except that right

     7    before my rebuttal was to start and they mute you when you're

     8    not speaking, the building alarm here started to go off.           So

     9    that was fun.    But it was -- it was not too bad.        They gave us

    10    two minutes in the beginning to speak without interruption so

    11    that we could get, you know, our issues out, I guess.

    12             THE COURT:    I'm going to assume that that oral argument

    13    took less than our five and a half hours.

    14             MR. PARRISH:     Oh, considerably.

    15             THE COURT:    Maybe like 15 minutes each?

    16             MR. PARRISH:     That's right.

    17             THE COURT:    Right.     Okay.   So how about this:    You

    18    suggested ten days.     How about I give you two weeks.        And so,

    19    Carnival, how does that work for you?        Two weeks?

    20             MR. HORR:    It works, Judge.

    21             THE COURT:    The other thing that I'd like you to do is

    22    I want you folks to order the transcript of this hearing.

    23    You'll be sharing the cost of the transcript.         You need not

    24    order it on an expedited basis, because that would increase the

    25    cost significantly.     So you'll need to have a conversation with
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     1    somebody in the clerk's office about ordering that through the

     2    court reporters' division of the clerk's office.

     3              I'd like the court reporter to complete it and get it

     4    uploaded in a month.     I think that's doable.      But if the court

     5    reporter gets jammed up and needs more time, let me know if

     6    they anticipate a problem, and instead of a month I'll give you

     7    five weeks or six weeks, something like that.         But I really

     8    would prefer a month, if that's feasible without causing the

     9    court reporter to place himself or herself in an undue burden.

    10              My sense is that the court reporters are less busy than

    11    usual, because there have been no trials for the past two

    12    months.   There have been no in-court evidentiary hearings and

    13    I suspect precious few video evidentiary hearings, and

    14    generally the workload should be far less than traditionally

    15    expected.   So hopefully, the court reporter will have some time

    16    on his or her hands.

    17              All right.    So when do you folks have mediation

    18    scheduled, by the way?

    19              MR. BRAIS:    We don't.

    20              MS. GURIAN:   It's been done.

    21              MR. HORR:    We've gone to mediation three times on this

    22    case, judge.

    23              THE COURT:    No kidding.

    24              MR. HORR:    Yes.

    25              THE COURT:    Was it the same mediator all three times?
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     1              MR. HORR:    Two out of three.

     2              THE COURT:     Just out of curiosity, who were the two

     3    mediators?

     4              MR. HORR:    Keith, who was the first one?       I wasn't

     5    there.

     6              MR. BRAIS:     Liz Rock.

     7              MR. HORR:    What?   Liz Rock.    She changed her last name.

     8    No.    Liz Cuomo Rock.

     9              Was she number one and two?

    10              MR. BRAIS:     Number one and two, if I recall correctly.

    11              THE COURT:     And the third --

    12              MR. HORR:    I thought we did it three times, Keith.        We

    13    did it very recently over at your office.         Right?   That would

    14    have been time three.

    15              MR. BRAIS:     And that was Doug Ede.

    16              MR. HORR:    There you go, your Honor.     Liz Rock and Doug

    17    Ede.

    18              THE COURT:     All right.   Well, in that case, I'm

    19    certainly not going to order you to mediation a fourth time.

    20              All right.     So I still have to schedule a new trial

    21    date and other trial-related dates such as the final pretrial

    22    conference, et cetera.      But I'm a little bit leery about doing

    23    that this week or next week because I don't know when our

    24    court's going to be open for jury trials.         I don't know how

    25    difficult it's going to be to get a sufficient number of jurors
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     1    here.    I don't know what the rules and restrictions are going

     2    to be.

     3              So I think for that purpose I'm just going to sort of

     4    play it by ear, see how things unfold in the next two, three

     5    weeks; and if it looks to me like things are loosening up to

     6    the point where it makes sense to have a telephone scheduling

     7    conference to schedule a special-set trial date, I'll have a

     8    phone hearing.    I won't just pick a date out of the blue.

     9    We'll have a phone hearing.        We'll do a little bit of

    10    brainstorming and we'll figure out what dates work best for you

    11    and your clients and your experts.       Okay?

    12              MR. HORR:    Yes, sir.

    13              THE COURT:    All right.

    14              MR. BRAIS:    Thank you, Judge.

    15              THE COURT:    So, Mr. Scarry, you've got about four hours

    16    and 15 minutes left to order from Shorty's.

    17              Does anybody else have any thoughts, questions,

    18    comments, observations?

    19              MR. BRAIS:    I don't think so.

    20              MR. SCARRY:    Thank you.

    21              MR. HORR:    Thanks for all your time, Judge.

    22              MR. PARRISH:    Thank you.

    23              THE COURT:    Probably later today, but more likely

    24    tomorrow, we'll be issuing that written post-hearing

    25    administrative order.
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     1             Thank you for your preparation and your diligence and

     2    your stamina for holding up here for five and a half hours.

     3    And we'll be in recess.      Everybody be well and stay safe.       Take

     4    care.

     5             MR. HORR:    You, too, your Honor.      Take care.

     6             MR. BRAIS:    Thank you, your Honor.

     7             MR. SCARRY:    Thank you, your Honor.

     8             (Proceedings concluded.)

     9

    10

    11

    12

    13
                                  C E R T I F I C A T E
    14

    15               I hereby certify that the foregoing is an

    16    accurate transcription of the proceedings in the

    17    above-entitled matter to the best of my ability.

    18

    19
          ____________           /s/Lisa Edwards
    20        DATE               LISA EDWARDS, RDR, CRR
                                 (305) 439-7168
    21                           Reporterlisaedwards@gmail.com

    22

    23

    24

    25
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